                     UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF LOUISIANA

IN RE:                                 §
                                       §        Case No. 14-50756
NEW LOUISIANA HOLDINGS, LLC,           §        (Chapter 11)
et al.                                 §
                                       §        Jointly Administered
              DEBTORS                  §


                JOINT PLAN OF LIQUIDATION FOR NEW LOUISIANA
             HOLDINGS, LLC, ET AL., PROPOSED BY THE DEBTORS AND
              THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS




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Dated: June 17, 2016




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                                        INTRODUCTION
        New Louisiana Holdings, LLC and certain related debtors and debtors in possession in
the above-captioned jointly administered cases (collectively, and as defined in Article I below,
the “Debtors”), and the Official Committee of Unsecured Creditors (the “Committee” and,
together with the Debtors, the “Proponents”) propose this Joint Plan of Liquidation pursuant to
Bankruptcy Code section 1121(a). Reference is made to the Disclosure Statement accompanying
this Plan for a discussion of the Debtors’ history, business, properties, results of operations,
projections for future liquidation, risk factors, a summary and analysis of the Plan, and certain
related matters.
        The Distributions to be made pursuant to this Plan to holders of Allowed Claims in each
of the Classes of Claims against the Debtors identified in Article III of this Plan, are set forth in
Article V of this Plan.
                                  ARTICLE I
               DEFINITIONS, CONSTRUCTION, AND INTERPRETATION
        The capitalized terms used herein shall have the respective meanings set forth below. A
capitalized term used herein that is not defined in this Article or otherwise defined in the Plan
shall have the meaning, if any, ascribed to that term in the Bankruptcy Code. If there is an
inconsistency between a definition in this Plan and a definition in the Bankruptcy Code, the
definition set forth in this Plan shall control. The rules of construction contained in Bankruptcy
Code section 102 shall apply to the construction of the Plan, provided, that in the event of any
conflict between the Plan and the Disclosure Statement, the Plan shall govern over the
Disclosure Statement. In the event a conflict between the Plan and any document implementing
the Plan arises, the document shall govern unless the Plan provides otherwise. In the event a
conflict between the Plan and the Confirmation Order arises, the Confirmation Order shall
govern. Whenever the context requires, words denoting the singular number shall include the
plural number and vice versa, and words denoting one gender shall include the other gender and
vice versa. All exhibits and schedules to the Disclosure Statement are incorporated herein. The
Plan Supplement and all exhibits to the Disclosure Statement have been, or will be, filed
electronically with the Bankruptcy Court. Copies of the Plan Supplement and such
exhibits may be viewed and/or downloaded from the Bankruptcy Court’s PACER website.
       Further, the Debtors will provide copies of any or all of the Plan Supplement and all
exhibits to the Disclosure Statement upon written request submitted to:
       Neligan Foley LLP
       Attn: Ruth A. Clark
       325 N. St. Paul, Suite 3600
       Dallas, TX 75201
       rclark@neliganlaw.com

       1.01. “Administrative Claim” means a Claim against a Debtor for payment or
reimbursement of an administrative expense of a kind within the scope of Bankruptcy Code
section 503(b) and entitled to priority under Bankruptcy Code section 507(a)(2), including,
without limitation, (a) actual and necessary costs and expenses of preserving the Estates, any
actual and necessary costs and expenses of operating the Debtors’ business, and any
indebtedness or obligations incurred or assumed by any of the Debtors during the Bankruptcy

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Cases, (b) Fee Claims and all other claims for compensation or reimbursement of expenses to the
extent allowed by the Bankruptcy Court under the Bankruptcy Code, (c) all Claims arising under
Bankruptcy Code section 503(b)(9), (d) all fees and charges assessed against the Estates under
the Bankruptcy Code or under section 1930 of chapter 123 of title 28 of the United States Code,
and (e) all other claims entitled to administrative priority claim status pursuant to a Final Order.

       1.02.   “Allowance Date” means the date on which a Claim becomes an Allowed Claim.

        1.03. “Allowed,” with respect to a Claim, other than an Administrative Claim means
such a Claim, or any portion thereof, (a) that has been allowed by a Final Order, (b) that either
(y) was listed in the Schedules as a liquidated, non-contingent, and undisputed Claim in an
amount greater than zero or (z) is the subject of a timely filed proof of Claim as to which either
(i) no objection to its allowance has been filed (either by way of objection or amendment of the
Schedules) on or before the Objection Deadline or (ii) any objection to its allowance has been
settled, waived through payment, withdrawn or overruled by a Final Order, (c) that is expressly
allowed in a liquidated amount in the Plan, or (d) that is in an amount agreed to by the Debtor
and the holder of such Claim; with respect to an Administrative Claim, means an Administrative
Claim for which a timely written request for payment has been made in accordance with the Plan
(if such written request is required) and as to which (y) no timely objection to its allowance has
been filed or (z) any objection to its allowance has been settled, waived through payment,
withdrawn or overruled by a Final Order; and, with respect to an Interest, means any Interest that
appears, as of the Petition Date, in the Debtor’s books and records except as provided in the Plan
or otherwise determined by a Final Order.

       1.04.   “Asset” means any property owned by an Estate or a Debtor.

        1.05. “Avoidance Action” means any Cause of Action arising under chapter 5 of the
Bankruptcy Code including, but not limited to, Bankruptcy Code sections 502, 510, 541, 542,
544, 545, 547, 548, 549, 550, 551, or 553, or under any similar applicable law, including,
without limitation, fraudulent transfer laws, whether or not any such Cause of Action has been
asserted or commenced as of the Effective Date.

        1.06. “Ballot” means the form of ballot approved by the Bankruptcy Court and
distributed with the Disclosure Statement and the Plan to holders of impaired Claims entitled to
vote to vote on the Plan and to be used to indicate their acceptance or rejection of the Plan.

       1.07. “Balloting Agent” means Ruth A. Clark, Neligan Foley LLP, 325 N. St. Paul,
Suite 3600, Dallas, Texas 75201.

       1.08. “Balloting Deadline” means August 15, 2016 at 5:00 p.m. Central Time, the
deadline set by the Bankruptcy Court’s order approving the Disclosure Statement for the receipt
by the Balloting Agent of Ballots for accepting or rejecting the Plan.

       1.09. “Bankruptcy Cases” means the jointly administered cases under chapter 11 of the
Bankruptcy Code commenced by the Debtors in the Bankruptcy Court and captioned In re New
Louisiana Holdings, LLC, et al., No. 14-50756.

       1.10.   “Bankruptcy Code” means title 11 of the United States Code, as now in effect or

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hereafter amended and as applicable to the Bankruptcy Cases.

        1.11. “Bankruptcy Court” means the United States Bankruptcy Court for the Western
District of Louisiana, or any other court or adjunct thereof having jurisdiction over the
Bankruptcy Cases.

       1.12. “Bankruptcy Rules” means, collectively, the Federal Rules of Bankruptcy
Procedure and the Official Bankruptcy Forms, as amended, the Federal Rules of Civil Procedure,
as amended and as applicable to the Bankruptcy Cases or proceedings therein, and the Local
Rules of the Bankruptcy Court, all as now in effect or hereafter amended.

        1.13. “Bar Date” means any deadline for filing proofs of Claim, including, without
limitation, Claims arising before the Petition Date (including 503(b)(9) Claims) and
Administrative Claims, as established by an order of the Bankruptcy Court or under the Plan.

       1.14. “Business Day” means any day other than a Saturday, a Sunday, a “legal
holiday” as such term is defined in Bankruptcy Rule 9006(a), or any other day on which
commercial banks in New York, New York are required or authorized to close by law or
executive order.

        1.15.   “Cash” means legal tender of the United States of America and equivalents
thereof.

        1.16. “Causes of Action” means any and all actions, causes of action (including,
without limitation, causes of action under sections 510, 544, 545, 546, 547, 548, 549, 550 and
553 of the Bankruptcy Code), suits, accounts, controversies, obligations, judgments, damages,
demands, debts, rights, agreements, promises, rights to legal remedies, rights to equitable
remedies, rights to payment, and claims (as defined in section 101(5) of the Bankruptcy Code),
whether known or unknown, reduced to judgment, not reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, secured, unsecured
and whether asserted or assertable directly or derivatively, whether arising before, on, or after the
Petition Date, in contract or tort, arising in law, equity or otherwise, that a Debtor and/or an
Estate may hold against any Person, or which could be asserted by a Debtor on behalf of any
Creditor or Creditor representative under the Bankruptcy Code as a debtor in possession (under
Bankruptcy Code sections 1107(a) and 1108) or by any representative of a Debtor or an Estate.

      1.17. “Chicago Health Care Leasing Claims” means any and all Claims, including
Administrative Claims, held by Chicago Health Care Leasing, LLC.

       1.18. “Claim” shall have the meaning provided in Bankruptcy Code section 101(5),
including, without limitation, any Claim arising after the Petition Date.

      1.19. “Claimants Trusts” means, collectively, the Tort Claimants Trust and the
Unsecured Claimants Trust.

      1.20. “Claimants Trust Agreements” means, collectively, the Tort Claimants Trust
Agreement and the Unsecured Claimants Trust Agreement.


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        1.21. “Class” means each category of Claims or Interests established under Article III
of the Plan pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

       1.22. “Collateral” means any property or interest in property of an Estate that is subject
to a Lien to secure the payment or performance of a Claim, which Lien is valid, perfected and
enforceable under applicable law and is not subject to avoidance or otherwise invalid under the
Bankruptcy Code or applicable non-bankruptcy law.

        1.23. “Confirmation Date” means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order on its docket.

       1.24. “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court
pursuant to Bankruptcy Code section 1128 to consider confirmation of the Plan, as such hearing
may be adjourned or continued from time to time.

       1.25. “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan under Bankruptcy Code section 1129.

       1.26.   “Creditor” means any Person that is the holder of a Claim against a Debtor.

       1.27. “Creditors’ Committee” means the committee of unsecured creditors appointed in
the Bankruptcy Cases by the United States Trustee pursuant to Bankruptcy Code section
1102(a)(1) , as the same may be constituted from time to time.

       1.28. “CRP” means the Personal Injury Claims Resolution Procedures, which shall be
Exhibit A to the Tort Claimants Trust Agreement.

      1.29. “Cure Amount” means any amount required to be paid as a condition for the
assumption of an Executory Contract under Bankruptcy Code section 365(b).

        1.30. “Cypress Debtors” means, individually or collectively, as the context may
require: (a) CHG Legacy Group, LLC; (b) Cypress Administrative Services, LLC; (c) Cypress
Health Care Management, LLC; and (d) Cypress Health Care Holdings, LLC.

      1.31. “Debtor(s)” means, collectively, the Georgia Debtors, the NLH Debtors, the Palm
Garden Debtors, the Palm Terrace Debtors, the Encore Debtors and the Cypress Debtors.

        1.32. “Disallowed” when used with respect to a Claim or Interest, shall mean a Claim
or Interest, or a portion thereof, that (a) has been disallowed by a Final Order or any provision of
the Plan, (b) is listed in the Schedules in an amount of zero or as contingent, unliquidated or
disputed and as to which no proof of Claim has been filed by the Bar Date or deemed timely
filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or a Final Order or
under applicable law, unless an Allowed amount of such Claim has been agreed to by the Debtor
and the holder thereof, or (c) is not listed in the Schedules and as to which (i) no proof of Claim
has been filed by the Bar Date or deemed timely filed with the Bankruptcy Court pursuant to
either the Bankruptcy Code or a Final Order or under applicable law, or (ii) no request for the
allowance of an Administrative Claim (including a Fee Claim) has been filed by the deadline in


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Section 2.01 of the Plan or deemed timely filed with the Bankruptcy Court pursuant to either the
Bankruptcy Code or a Final Order or under applicable law.

       1.33. “Disclosure Statement” means the disclosure statement (including all exhibits
and schedules thereto) relating to the Plan, as approved by the Bankruptcy Court and distributed
contemporaneously with this Plan in accordance with Bankruptcy Code section 1125 and
Bankruptcy Rule 3017, as it may be altered, amended or modified from time to time in
accordance with the provisions of the Bankruptcy Code and the Bankruptcy Rules.

         1.34. “Disputed” means, with respect to a Claim (including any Administrative Claim)
or Interest, a Claim or Interest, or any portion thereof, (a) that is neither Allowed pursuant to the
Plan or a Final Order nor deemed Allowed under section 502, 503 or 1111 of the Bankruptcy
Code, (b) that is listed in the Schedules as disputed, contingent, or unliquidated and which has
not been resolved by written agreement of the parties or a Final Order; (c) for which a proof of
Claim or Interest has been timely filed or deemed timely filed with the Bankruptcy Court and as
to which any party in interest has timely filed an objection or request for estimation in
accordance with the Plan, the Bankruptcy Code, the Bankruptcy Rules or any order of the
Bankruptcy Court, or which is otherwise Disputed by a Debtor, the Creditors’ Committee, or the
Unsecured Claimants Trust in accordance with applicable law, which objection, request for
estimation, or dispute has not been withdrawn or resolved or determined by a Final Order; or (d)
that is the subject of a pending action in a forum other than the Bankruptcy Court unless such
Claim or Interest has been determined by Final Order in such other forum and Allowed by Final
Order. Prior to the expiration of the time within which to object to such Claim or Interest set
forth herein or otherwise established by order of the Bankruptcy Court, a Claim or Interest shall
be considered Disputed to the extent that (i) the amount of the Claim or Interest specified in a
proof of Claim or Interest exceeds the amount listed in the Schedules and/or (ii) the Claim or
Interest is classified differently in the proof of Claim or Interest than in the Schedules. To the
extent an objection to the allowance of only a portion of a Claim or Interest has been timely
filed, such Claim or Interest shall be a Disputed Claim only to the extent of the portion subject to
objection.

        1.35. “Disputed Amount” means (a) if a liquidated amount is set forth in a proof of
Claim or Interest relating to a Disputed Claim or Interest, (i) the liquidated amount set forth in
the proof of Claim or Interest relating to the Disputed Claim or Interest, (ii) an amount agreed to
by the Debtor, the Creditors’ Committee or Unsecured Claimants Trust and the holder of such
Disputed Claim or Interest, or (iii) if a request for estimation is filed by any party, the amount at
which such Claim or Interest is estimated by the Bankruptcy Court; (b) if no liquidated amount is
set forth in the proof of Claim or Interest relating to a Disputed Claim or Interest, (i) an amount
agreed to by the Debtor, the Creditors’ Committee or Unsecured Claimants Trust and the holder
of such Disputed Claim or Interest, (ii) the amount estimated by the Bankruptcy Court with
respect to such Disputed Claim or Interest; or (c) zero, if the Claim or Interest was not listed on
the Schedules or was listed on the Schedules as disputed, contingent or unliquidated and no proof
of Claim or Interest was filed, or deemed to have been filed, by the Bar Date and the Claim or
Interest has not been resolved by written agreement of the Debtor, the Creditors’ Committee or
the Unsecured Claimants Trust and the holder of such Claim or Interest or an order of the
Bankruptcy Court.


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       1.36. “Distribution” means the property to be distributed under the Plan to the holders
of Allowed Claims.

       1.37. “Distribution Date” means any date upon which a Distribution is made in
accordance with the Plan to holders of Allowed Claims entitled to receive Distributions under the
Plan.

        1.38. “Effective Date” means the first Business Day after the Confirmation Date on
which (a) no stay or motion for a stay of the Confirmation Order is in effect or pending and (b)
all conditions to the Effective Date set forth in Section 8.02 of the Plan have been met or waived.
The Debtors will file and serve notice of the Effective Date within five (5) Business Days after
its occurrence.

       1.39. “Encore Debtors” means, individually or collectively, as the context may require:
(a) SA-ENC Blu Fountain, LLC; (b) SA-ENC Fort Myers, LLC; (c) SA-ENC Glennon Place
ALF, LLC; (d) SA-ENC Glennon Place, LLC; (e) SA-ENC Operator Holdings, LLC; (f) SA-
ENC Park Haven, LLC; (f) SA-ENC PH Holdings, LLC; (g) SA-ENC Sunrise GP, LLC; (h) SA-
ENC Tonganoxie, LLC; and (i) SA-ENC VIP Manor, LLC.

       1.40.   “Encore Lender” means Encore Nursing Center Partners Limited Partnership-85.

      1.41. “Encore Lender Claims” means any Claim or remedy asserted against a Debtor
by Encore Lender.

       1.42. “Encore Settlement Agreement” means that certain Compromise, Settlement and
Release Agreement, dated as of October 13, 2015, by and among SA-ENC Master Tenant, LLC,
Encore Cypress LLC, Encore Sunrise LP, Encore Nursing Center Partners Limited Partnership-
85, Highland Park CDO I, Ltd., and the Encore Debtors.

       1.43.   “Entity” shall have the meaning provided in Bankruptcy Code section 101(15).

       1.44.   “Estate” means the estate of a Debtor created under Bankruptcy Code section
541.

        1.45. “Estimation Order” means an order or orders of the Bankruptcy Court estimating
for voting, confirmation and/or distribution purposes (under section 502(c) of the Bankruptcy
Code) the allowed amount of any Claim. The defined term Estimation Order includes the
Confirmation Order if the Confirmation Order grants the same relief that would have been
granted in a separate Estimation Order.

       1.46. “Executory Contract” means any prepetition executory contract or unexpired
lease within the meaning of Bankruptcy Code section 365 between a Debtor and any other
Person(s).

       1.47. “Face Amount” means (a) when used in reference to a Disputed Claim, the
Disputed Amount of such Claim, and (b) when used in reference to an Allowed Claim, the
Allowed amount of such Claim.


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       1.48.   “Fee Application” means an application for the allowance and/or payment of a
Fee Claim.

       1.49. “Fee Claim” means a Claim against a Debtor by a Professional or any other party
pursuant to Bankruptcy Code sections 327, 328, 330, 331, 363, 503(b) or 1103 or otherwise for
compensation for services rendered or reimbursement of costs, expenses, or other charges
incurred after the Petition Date and prior to and including the Effective Date.

       1.50. “Final Decree” means the final decree entered by the Bankruptcy Court pursuant
to Bankruptcy Rule 3022, which shall, inter alia, close the Bankruptcy Cases.

        1.51. “Final Order” means an order or judgment of the Bankruptcy Court or other
court of competent jurisdiction that has not been stayed, reversed or amended and as to which
order or judgment (or any revision, modification, or amendment thereof) the time to appeal or
seek review or rehearing has expired and as to which no appeal or petition for review or
rehearing was filed or, if filed, remains pending; provided, however, that no order or judgment
shall fail to be a Final Order solely because of the possibility that a motion pursuant to Rule 60
of the Federal Rules of Civil Procedure may be filed with respect to such order or judgment.

        1.52. “General Unsecured Claim” means any Claim, other than an Administrative
Claim, a Secured Claim, a Priority Tax Claim, a Non-Tax Priority Claim, a Personal Injury
Claim, an Encore Lender Claim, an Insider Claim, or a Chicago Health Care Leasing Claim, that
is neither secured nor entitled to priority under the Bankruptcy Code or any order of the
Bankruptcy Court. For the avoidance of doubt, a General Unsecured Claim includes any Claim
arising from the rejection or an executory contract or unexpired lease under Bankruptcy Code
section 365 and any Personal Injury Claim or other Claim based on or arising from a prepetition
Final Order or a legally enforceable settlement agreement or arbitration ruling.

       1.53. “Georgia Debtors” means, individually or collectively, as the context requires:
(a) SA-GA Operator Holdings LLC; (b) CHC-Carrollton Nursing & Rehab Ctr, LLC; (c) CHC-
Cedar Valley Nursing & Rehab Ctr, LLC; (d) CHC-Chestnut Ridge Nursing & Rehab Ctr, LLC;
(e) CHC-Haralson Nursing & Rehab Ctr, LLC; (f) CHC-Hart Care Center, LLC; (g) CHC-Pine
Knoll Nursing & Rehab Ctr, LLC; (h) CHC-Roswell Nursing & Rehab Ctr, LLC; (i) CHC-Social
Circle Nursing & Rehab Ctr, LLC; (j) CHC-University Nursing & Rehab Ctr, LLC; and (k)
CHC-Woodstock Nursing & Rehab Ctr, LLC.

       1.54.   “HCN” means Health Care Navigator, LLC.

        1.55. “Initial Distribution Date” means the first Distribution Date following the
Effective Date, which date shall be no later than thirty (30) days after the Effective Date.

       1.56.   “Insider” has the meaning provided in Bankruptcy Code section 101(31).

      1.57. “Insider Claim” means any Claim (including an Administrative Claim) or
remedy asserted against a Debtor by any Insider of a Debtor.

       1.58. “Interest” means the legal, equitable, contractual, and/or other rights of any
Person with respect to any capital stock or other ownership interest in a Debtor, whether or not

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transferable, and any option, warrant or right to purchase, sell, or subscribe for an ownership
interest or other equity security in a Debtor.

       1.59. “Lien” has the meaning provided in Bankruptcy Code section 101(37) and shall
include a “statutory lien” as defined in Bankruptcy Code section 101(53).

       1.60.   “Miscellaneous Secured Claim” means a Secured Claim other than a Secured
Tax Claim.

        1.61. “NLH Debtors” means, individually or collectively, as the context requires: (a)
New Louisiana Holdings, LLC; (b) Acadian 4005 Tenant, LLC; (c) Atrium 6555 Tenant, LLC;
(d) Citiscape 5010 Tenant, LLC; (e) Fountain View 215 Tenant, LLC; (f) Jackson Manor 1691
Tenant, LLC; (g) Lakewood Quarters Assisted 8585 Tenant, LLC; (h) Lakewood Quarters Rehab
8225 Tenant, LLC; (i) Panola 501 Partners, LP; (j) Retirement Center 14686 Tenant, LLC; (k)
St. Charles 1539 Tenant, LLC; (l) Sherwood 2828 Tenant, LLC; and (m) Woodland Village
5301 Tenant, LLC.

        1.62. “Non-Tax Priority Claim” means any Claim, other than an Administrative Claim
or a Priority Tax Claim, entitled to priority in payment under Bankruptcy Code section 507(a).

        1.63. “Objection Deadline” means the last day for filing objections to Claims (other
than Administrative Claims or Fee Claims) or Interests, which day shall be the later of (a) 120
days after the Effective Date, (b) 120 days after the filing date of any proof of Claim or Interest
that is timely filed after the Confirmation Date, or (c) such other day as the Bankruptcy Court
may order. The filing of a motion to extend the Objection Deadline shall automatically extend
the Objection Deadline until an order ruling on such motion becomes a Final Order. If such
motion to extend the Objection Deadline is denied, the Objection Deadline shall be the later of
the current Objection Deadline (as previously extended, if applicable) or thirty (30) days after the
Bankruptcy Court’s order denying such motion becomes a Final Order.

      1.64. “Ordinary Course of Business” shall have the meaning provided under
Bankruptcy Code section 363 and judicial interpretations thereof.

        1.65. “Palm Garden Debtors” means, individually or collectively, as the context may
require: (a) SA-PG Operator Holdings LLC; (b) SA-PG Clearwater LLC; (c) SA-PG Gainesville
LLC; (d) SA-PG Jacksonville LLC; (e) SA-PG Largo LLC; (f) SA-PG North Miami LLC: (g)
SA-PG Ocala LLC; (h) SA-PG Orlando LLC; (i) SA-PG Pinellas LLC; (j) SA-PG Port St. Lucie
LLC; (k) SA-PG Sun City Center LLC; (l) SA-PG Tampa LLC; (m) SA-PG Vero Beach LLC;
(n) SA-PG West Palm Beach LLC; and (o) SA-PG Winterhaven LLC.

        1.66. “Palm Terrace Debtors” means, individually or collectively, as the context may
require: (a) SA-St. Petersburg, LLC; (b) SA-Clewiston, LLC; (c) SA-Lakeland, LLC; (d) CHC-
CLP Operator Holding, LLC; and (e) CHC-SPC Operator, Inc.

        1.67. “Patient’s Compensation Fund” means the Patient’s Compensation Fund
established by the Louisiana Medical Malpractice Act (La. Rev. Stat. Ann. § 40:1299.44 (West
1992 & Supp. 1997)).


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        1.68. “Person” means any Entity, natural person, corporation, limited partnership,
general partnership, joint venture, trust, land trust, business trust, unincorporated organization, or
other organization (irrespective of whether it is a legal entity), and any “governmental unit” as
that term is defined in Bankruptcy Code section 101(27).

        1.69. “Personal Injury Claim” means any Claim, demand, suit, cause of action,
proceeding or any other right or asserted right to payment heretofore, now or hereafter asserted
against a Debtor based upon or in any manner arising from or related to the Debtor’s ownership,
operation or management of any skilled nursing facility, including, without limitation, those for
(i) death or personal injuries, including emotional distress, (ii) damages, including punitive
damages, (iii) attorney's fees and other expenses, fees or costs, (iv) any possible economic loss or
loss of consortium, and (v) for any equitable remedy, but excluding Claims that are the subject of
any prepetition final judgment or prepetition legally enforceable settlement agreements, which
Claims shall be treated as General Unsecured Claims for all purposes under the Plan, and
excluding Claims that are TCR Personal Injury Claims.

       1.70. “Petition Date” means the date on which each Debtor filed its petition for relief
under chapter 11 of the Bankruptcy Code, commencing such Debtor’s Bankruptcy Case.

      1.71. “Plan” means this Joint Plan of Liquidation and all exhibits or agreements
annexed to such plan, referenced in such plan, or included in the Plan Supplement, as the same
may be altered, amended, modified, or supplemented from time to time in accordance with the
Bankruptcy Code and the Bankruptcy Rules.

       1.72.   “Plan Proponents” shall mean the Debtors and the Creditors Committee.

        1.73. “Plan Supplement” means the exhibits, schedules, agreements and other
documents as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan, which, unless otherwise specified in the Plan, shall be filed by the
Debtors and Creditors’ Committee no later than ten (10) Business Days before the Confirmation
Hearing or such later date as may be approved by the Bankruptcy Court without further notice to
parties in interest, and as may be amended thereafter. All documents comprising the Plan
Supplement shall be in form and substance acceptable to the Debtors and Creditors’ Committee.

        1.74. “Priority Tax Claim” means any Claim of a governmental unit (as defined in
Bankruptcy Code section 101(27)) of the kind entitled to priority in payment under sections
502(i) and 507(a)(8) of the Bankruptcy Code.

       1.75. “Professional” means (a) any Person employed in the Bankruptcy Cases pursuant
to Bankruptcy Code sections 327, 328 or 1103 or otherwise and (b) any Person seeking
compensation or reimbursement of costs and expenses in connection with the Bankruptcy Cases
pursuant to Bankruptcy Code section 503(b)(4) or 1129(a)(4).

       1.76. “Pro Rata” means, at any time, the proportion that the Allowed amount of a
Claim in a particular Class bears to the aggregate Face Amount of all Claims (including Disputed
Claims, but excluding Disallowed Claims) in that Class as of the date of the relevant
determination, unless the Plan provides otherwise.


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        1.77. “Rejection Bar Date” means the deadline by which any Person must file a
Rejection Claim, which deadline shall be the later of (a) thirty (30) days after service of a notice
of the Effective Date, or (b) such other date prescribed by the Bankruptcy Court.

       1.78. “Rejection Claim” means a Claim by a party to an Executory Contract that has
not been assumed by a relevant Debtor pursuant to the Plan or a prior Final Order entered in the
Bankruptcy Cases for damages arising from the rejection by the Debtor of such Executory
Contract under Bankruptcy Code section 365.

       1.79. “Release Payment” means Cash in the amount of $2.5 million which shall be
paid by or on behalf of the Released Parties to the Claimants Trusts on the Effective Date,
pursuant to Section 6.02 of the Plan.

       1.80. “Released Parties” means all Persons listed on Exhibit __ attached to the
Disclosure Statement.

       1.81. “Schedule of Assumed Contracts” means the schedule that identifies Executory
Contracts, if any, to be assumed under Bankruptcy Code sections 365 and 1123(b)(2) under the
Plan and proposed Cure Amounts related thereto. The Schedule of Assumed Contracts shall be
included in the Plan Supplement.

       1.82. “Schedules” means the schedules of assets and liabilities filed in the Bankruptcy
Cases, as modified, amended or supplemented from time to time.

        1.83. “Secured Claim” means a Claim secured by a Lien that is not subject to
avoidance under the Bankruptcy Code or other applicable non-bankruptcy law, on or against
property in which the Estate has an interest, or a Claim that is subject to setoff under Bankruptcy
Code section 553, but only to the extent of the value of the holder’s interest in the Estate’s
interest in such property or to the extent of the amount subject to setoff, as applicable; as
determined by a Final Order pursuant to Bankruptcy Code section 506(a) or, in the case of setoff,
pursuant to Bankruptcy Code section 553, or in either case as agreed upon in writing by the
Debtor and the holder of such Claim. Secured Claims shall include Claims secured by Liens
junior in priority to other Liens, whether by operation of law, contract, or otherwise, but solely to
the extent of the value, as of the Effective Date or such other date established by the Bankruptcy
Court, of such Claim holder’s interest in the Estate’s interest in such property after giving effect
to all Liens that are senior in priority. The amount of any Claim that exceeds the value of the
holder’s interest in the Estate’s interest in property or the amount subject to setoff shall be treated
as a General Unsecured Claim.

        1.84. “Secured Tax Claim” means a Claim by a governmental unit for the payment of a
tax assessed against property of the Estate and that is secured as of the Effective Date by a Lien
against such property, which Lien is valid, perfected and enforceable under applicable law and is
not subject to avoidance under the Bankruptcy Code or applicable non-bankruptcy law, but only
to the extent of the value of the property securing such Claim.

       1.85.   “TCR” means Tort Claims Resolution, LLC.



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       1.86. “TCR Personal Injury Claims” means any and all Claims against the Debtors,
the proceeds of which have been assigned to TCR as of the Effective Date of the Plan, including,
without limitation, those proofs of claim identified on a schedule to be included in the Plan
Supplement.

        1.87. “Tort Claimants Trust” means that certain trust established pursuant to Section
[6.05] of the Plan and the Tort Claimants Trust Agreement.

       1.88. “Tort Claimants Trust Agreement” means that certain trust agreement to be
entered into pursuant to the Plan, under which the Tort Claimants Trust will be established. A
copy of the Tort Claimants Trust Agreement shall be included in the Plan Supplement.

        1.89. “Tort Claimants Trustee” means the individual initially selected by the Debtors
and approved by the Bankruptcy Court to act as trustee of the Tort Claimants Trust pursuant to
the terms of the Tort Claimants Trust Agreement to administer the Tort Claimants Trust, and any
successors thereto.

       1.90. “Trust Assets” means all assets or property of a Claimants Trust, including
without limitation, all property transferred to such Claimants Trust at any time and all other
property incidental thereto that may be acquired by such Claimants Trust from time to time
under the Plan, the relevant Claimants Trust Agreement or otherwise.

       1.91. “Unclaimed Property” means any Distribution under the Plan that, for a period of
90 days after the applicable Distribution Date (unless otherwise extended by an order of the
Bankruptcy Court or an agreement with the relevant Debtor), is either (a) attributable to the
holder of an Allowed Claim that has failed to prepare, execute and return an Internal Revenue
Service Form W-9, (b) returned as undeliverable, or (c) otherwise unclaimed.

       1.92. “Unsecured Claimants Trust” means that certain trust established pursuant to
Section [6.04] of the Plan and the Unsecured Claimants Trust Agreement.

        1.93. “Unsecured Claimants Trust Agreement” means that certain trust agreement to
be entered into pursuant to the Plan, under which the Unsecured Claimants Trust will be
established. A copy of the Unsecured Claimants Trust Agreement shall be included in the Plan
Supplement.

       1.94. “Unsecured Claimants Trustee” means the individual initially selected by the
Creditors Committee and approved by the Bankruptcy Court to act as trustee of the Unsecured
Claimants Trust pursuant to the terms of the Unsecured Claimants Trust Agreement to
administer the Unsecured Claimants Trust, and any successors thereto.

                                     ARTICLE II
                                 UNCLASSIFIED CLAIMS

       2.01.   Administrative Claims.

      Time for Filing Administrative Claims. Except to the extent an earlier bar date applies
by order of the Bankruptcy Court, the holder of any Administrative Claim that is incurred,

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accrued or in existence prior to the Effective Date, other than (i) a Fee Claim, (ii) an Allowed
Administrative Claim, or (iii) a liability in the Ordinary Course of Business must file with the
Bankruptcy Court and serve on all parties required to receive such notice a request for the
allowance of such Administrative Claim on or before thirty (30) days after the Effective Date.
Such request must include at a minimum (i) the name of the holder of the Claim, (ii) the amount
of the Claim, and (iii) the basis of the Claim. Failure to timely and properly file and serve the
request required under this Section shall result in the Administrative Claim being forever barred
and discharged. Objections to such requests must be filed and served pursuant to the Bankruptcy
Rules on the requesting party and the Debtors within thirty (30) days after the filing of the
applicable request for payment of an Administrative Claim.

        Time for Filing Fee Claims. Any Person who holds or asserts an Administrative Claim
that is a Fee Claim shall be required to file with the Bankruptcy Court and serve on all parties
required to receive such notice a Fee Application within thirty (30) days after the Effective Date.
Failure to timely and properly file and serve a Fee Application as required under this Section
shall result in the Fee Claim being forever barred and discharged. No Fee Claim will be deemed
Allowed until an order allowing the Fee Claim becomes a Final Order. An objection to a Fee
Application must be filed and served pursuant to the Bankruptcy Rules on the Debtor and the
Person whose Fee Application is the subject of the objection no later than fourteen (14) days
before the hearing on such Fee Application. No hearing may be held on less than twenty-eight
(28) days’ notice.

        Allowance of Administrative Claims. An Administrative Claim with respect to which a
request for payment is required and has been properly filed pursuant to Section 2.01(a) of the
Plan shall become an Allowed Administrative Claim if no timely objection is filed. If a timely
objection is filed, the Administrative Claim shall become an Allowed Administrative Claim only
to the extent Allowed by a Final Order. An Administrative Claim that is a Fee Claim, and with
respect to which a Fee Application has been properly filed and served pursuant to Section
2.01(b) of the Plan, shall become an Allowed Administrative Claim only to the extent Allowed
by a Final Order after notice and an opportunity for hearing.

       Payment of Allowed Administrative Claims. Except to the extent that a holder of an
Allowed Administrative Claim has been paid before the Effective Date, or agrees to a different
treatment, each holder of an Allowed Administrative Claim (other than Allowed Administrative
Claims for goods sold or services rendered in the Ordinary Course of Business, which are paid
pursuant to Section 2.01(e) below) shall receive, after the application of any retainer or deposit
held by such holder, Cash in an amount equal to such Allowed Claim within ten (10) Business
Days after the later of (i) the Effective Date or (ii) the Allowance Date with respect to such
Allowed Claim.

        Administrative Claims Incurred in the Ordinary Course of Business. Holders of
Administrative Claims based on liabilities for goods sold or services rendered in the Ordinary
Course of Business of the Debtors after the Petition Date and during the Bankruptcy Cases (other
than Claims of governmental units, including, inter alia. those for taxes or Claims and/or
penalties related to such taxes; Administrative Claims arising under Bankruptcy Code section
503(b)(9); or alleged Administrative Claims arising in tort) shall not be required to file any
request for payment of such Claims. Each Administrative Claim incurred in the Ordinary Course

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of Business of the Debtors will be paid pursuant to the terms and conditions of the transaction
giving rise to such Administrative Claim, without any further action by the holder of such
Administrative Claim. The Debtors, Creditors’ Committee and the Unsecured Claimants’ Trust
reserve the right to object before the Objection Deadline to any Administrative Claim arising, or
asserted as arising, in the Ordinary Course of Business, and shall withhold payment of such
claim until such time as any objection is resolved pursuant to a settlement or a Final Order.

       2.02.   Priority Tax Claims

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to different
treatment, each holder of an Allowed Priority Tax Claim shall receive, in the discretion of the
Debtor, the Creditors’ Committee and the Unsecured Claimants’ Trust, (a) Cash in an amount
equal to such Allowed Claim within ten (10) Business Days after the later of (1) the Effective
Date or (2) the Allowance Date with respect to such Allowed Claim; or (b) deferred Cash
payments over a period not exceeding five (5) years after the Petition Date in an aggregate
principal amount equal to the Allowed amount of such Priority Tax Claim (with any interest to
which the holder of such Claim may be entitled calculated in accordance with section 511 of the
Bankruptcy Code), in equal annual installments with the first payment to be due within ten (10)
Business Days after the later of (1) the Effective Date or (2) the Allowance Date with respect to
such Allowed Claim and subsequent payments to be due on each anniversary of the Effective
Date; provided, however, that all Allowed Priority Tax Claims that are not due and payable on or
before the Effective Date shall be paid in the ordinary course of business as they become due.
Notwithstanding the foregoing, (a) any Claim or demand for payment of a penalty (other than a
penalty of the type specified in Bankruptcy Code section 507(a)(8)(G)) shall be Disallowed
pursuant to the Plan and the holder thereof shall not assess or attempt to collect such penalty
from the Debtors, the Claimants Trusts or any of their Assets, (b) the Debtors or the Unsecured
Claimants Trust shall have the right to pay any Allowed Priority Tax Claim, or any unpaid
balance of such Claim, in full, at any time after the Effective Date, without premium or penalty,
and (c) nothing contained herein shall relieve any owner of a Debtor from any liability for taxes
arising from a Debtor’s status as a pass-through entity for income tax purposes.

       2.03.   U.S. Trustee Fees.

        The Clamants Trusts shall timely pay, in equal portions, to the United States Trustee all
quarterly fees incurred by the Debtors pursuant to 28 U.S.C. § 1930(a)(6) until the Bankruptcy
Cases are closed or dismissed. The Claimants Trusts shall jointly serve on the United States
Trustee a quarterly financial report for each quarter (or portion thereof) after the Effective Date
that the Bankruptcy Cases remain open.

                                  ARTICLE III
                    CLASSIFICATION OF CLAIMS AND INTERESTS

       3.01.   Introduction.

       All Claims and Interests, except Administrative Claims and Priority Tax Claims, are
placed in the Classes set forth below. In accordance with Bankruptcy Code section 1123(a)(1),
Administrative Claims and Priority Tax Claims have not been classified.


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        Except for the unclassified Claims discussed in Article II above, Section 3.02 of the Plan
sets forth a designation of Classes of all Claims and Interests in accordance with Bankruptcy
Code section 1122(a). A Claim or Interest is classified in a particular Class only to the extent
any portion of the Claim or Interest qualifies within the description of the Class and is classified
in a different Class to the extent any portion of the Claim or Interest qualifies within the
description of that different Class. If a Claim or Interest is acquired or transferred, the Claim or
Interest shall be placed in the Class in which it would have been placed if it were owned by the
original holder of such Claim or Interest. A Claim or Interest is also placed in a particular Class
for the purpose of receiving Distributions only to the extent that such Claim or Interest is an
Allowed Claim or an Allowed Interest in that Class and such Claim or Interest has not been paid,
satisfied or released before the Effective Date.

       3.02.   Claims Against and Interests in the Debtors.

       Class 1: Non-Tax Priority Claims

       Class 2: Secured Tax Claims

       Class 3: Miscellaneous Secured Claims

       Class 4: General Unsecured Claims

       Class 5: Personal Injury Claims

       Class 6: Chicago Health Care Leasing Claims Against the NLH Debtors

       Class 7: Encore Lender Claims

       Class 8: Insider Claims

       Class 9: TCR Personal Injury Claims

       Class 10: Interests

                                     ARTICLE IV
                         IDENTIFICATION OF UNIMPAIRED AND
                           IMPAIRED CLAIMS AND INTERESTS

       4.01.   Unimpaired Claims and Interests

       Claims against the Debtors in Classes 1, 2, 3 and 7 are not impaired under the Plan, and
the holders of those Claims are conclusively presumed to have accepted the Plan under
Bankruptcy Code section 1126(f) and are thus not entitled to vote on the Plan.

       4.02.   Impaired Claims and Interests

       Claims against the Debtors in Classes 4, 5, 6, 8 and 9 are impaired under the Plan, and
the holders of Claims in those Classes are entitled to vote to accept or reject the Plan. Interests in

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the Debtors in Class 10 are impaired and deemed to have rejected the Plan and, therefore, are not
entitled to vote on the Plan under Bankruptcy Code section 1126(g).

       4.03.   Controversy Concerning Impairment

        In the event of a controversy as to whether any Claim or Interest or any Class of Claims
or Interests is impaired under the Plan, the Bankruptcy Court will determine the controversy,
after notice and a hearing.

                                   ARTICLE V
                        TREATMENT OF CLAIMS AND INTERESTS

       5.01.   Non-Tax Priority Claims – Class 1

        On or as soon as practicable after the later of (a) the Initial Distribution Date or (b) the
Allowance Date with respect to a Non-Tax Priority Claim, each holder of an Allowed Non-Tax
Priority Claim shall receive, (y) Cash in an amount equal to such Allowed Claim, including such
interest as may be required by applicable law, or (z) such other, less favorable treatment to which
such holder and the Debtor or Unsecured Claimants’ Trust agree in writing. To the extent an
Allowed Non-Tax Priority Claim entitled to priority treatment under 11 U.S.C. §§ 507(a)(4) or
(5) exceeds the statutory cap applicable to such Claim, such excess amount shall be treated as a
Class 4 General Unsecured Claim.

       5.02.   Secured Tax Claims – Class 2

        With respect to any Allowed Secured Tax Claim for tax years prior to 2014, to the extent
not already paid or otherwise satisfied, on or as soon as practicable after the later of (a) the Initial
Distribution Date or (b) the Allowance Date with respect to a Secured Tax Claim, each holder of
an Allowed Secured Tax Claim shall receive (x) Cash equal to the Allowed amount of such
Allowed Claim (with any interest to which the holder of such Claim may be entitled calculated in
accordance with section 511 of the Bankruptcy Code), (y) the Collateral securing such Allowed
Claim, or (z) such other, less favorable treatment as may be agreed upon in writing by such
holder and the Debtor and the Unsecured Claimants Trust.

        The holder of a Secured Tax Claim for ad valorem taxes for any tax year from 2014 and
thereafter shall retain all rights and remedies for payment thereof in accordance with applicable
non-bankruptcy law.

        Each holder of an Allowed Secured Tax Claim shall retain its Lien on any Collateral that
secures its Claim or the proceeds of such Collateral (to the extent such Collateral is sold by the
Debtor or the Unsecured Claimants Trust, free and clear of such Lien) to the same extent and
with the same validity and priority as such Lien held as of the Petition Date until (a) the holder of
such Allowed Claim (i) has been paid Cash equal to the value of its Allowed Claim and/or (ii)
has received a return of the Collateral securing its Allowed Claim, or (iii) has been afforded such
other treatment as to which such holder and the Debtor and Unsecured Claimants’ Trust have
agreed upon in writing, or (b) such purported Lien has been determined by a Final Order to be
invalid or avoidable. To the extent that a Secured Tax Claim exceeds the value of the interest of


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the Estate in the property that secured such Claim, such Claim shall be deemed Disallowed
pursuant to Bankruptcy Code section 502(b)(3). On the full payment or other satisfaction of
each Allowed Other Secured Claim in accordance with the Plan, the Liens securing such
Allowed Other Secured Claim shall be deemed released, terminated and extinguished, in each
case without further notice to or order of the Bankruptcy Court, act or action under applicable
law, regulation, order or rule or the vote, consent, authorization or approval of any Person.

       5.03.   Miscellaneous Secured Claims – Class 3

       Subclasses. Class 3 shall contain a separate subclass for each Miscellaneous Secured
Claim in such Class. Each such subclass is deemed to be a separate Class for all purposes under
the Bankruptcy Code and the Plan.

        Allowance. The Allowed amount of each Miscellaneous Secured Claim shall be agreed
to by the Debtor and the Unsecured Claimants’ Trust and the holder thereof, or determined by
the Bankruptcy Court.

       Treatment and Collateral. On or as soon as practicable after the later of (i) the Initial
Distribution Date or (ii) the Allowance Date, each holder of an Allowed Miscellaneous Secured
Claim shall receive from the Unsecured Claimants’ Trust, in full satisfaction, settlement, release
and discharge of and in exchange for such Claim, (x) Cash equal to the value of its Allowed
Miscellaneous Secured Claim, (y) the Collateral securing the Allowed Miscellaneous Secured
Claim, or (z) such other, less favorable treatment as to which such holder and the Debtor and
Unsecured Claimants’ Trust agree in writing.

        Each holder of an Allowed Miscellaneous Secured Claim shall retain its Lien in the
Collateral that secures its Claim or the proceeds of such Collateral (to the extent such Collateral
is sold by the Debtor or the Unsecured Claimants Trust free and clear of such Lien) to the same
extent and with the same validity and priority as such Lien held as of the Petition Date until (i)
the holder of such Allowed Miscellaneous Secured Claim has received (A) Cash equal to the
value of its Allowed Miscellaneous Secured Claim, (B) a return of the Collateral securing its
Allowed Miscellaneous Secured Claim, or (C) such other treatment as to which such holder and
the Debtor and the Unsecured Claimants’ Trust shall have agreed upon in writing, or (ii) such
purported Lien has been determined by a Final Order to be invalid or avoidable.

       If any Allowed Miscellaneous Secured Claim exceeds the value of the Collateral securing
such Claim, then pursuant to Bankruptcy Code section 506(a), any such excess amount shall be
deemed to be and shall be treated as a Class 4 General Unsecured Claim.

       5.04.   General Unsecured Claims – Class 4

       Allowance. The Allowed amount of each General Unsecured Claim shall be agreed to
by the Debtor or the Unsecured Claimants Trust and the holder thereof, or determined by the
Bankruptcy Court, and shall include interest that matured as of the Petition Date at the rate, if
any, specified in an enforceable agreement between the Debtor and the holder of such Claim or
such lesser amount as may be agreed by the Debtor or the Unsecured Claimants Trust and the
holder of such Claim.


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        Treatment. Provided that all Allowed Administrative Claims, all Allowed Priority Tax
Claims, and all Allowed Claims in Classes 1 through 3 have been paid, reserved for or otherwise
satisfied in full as provided in the Plan, each holder of an Allowed General Unsecured Claim in
Class 4 shall receive from the Unsecured Claimants Trust a Pro Rata share of the Distributions
available for holders of Allowed General Unsecured Claims against the Debtors. The Debtors
have been substantively consolidated. As a result, Distributions to such holders from the
Unsecured Claimants Trust shall be made on a Pro Rata basis as if the Debtors were a single
entity.

        The Unsecured Claimants Trust may make multiple Distributions to holders of Allowed
General Unsecured Claims. On the Initial Distribution Date, the Unsecured Claimants Trust
shall make a Distribution to holders of Allowed General Unsecured Claims whose Claims were
Allowed as of the Effective Date. The Unsecured Claimants Trustee shall determine, in his or
her sole discretion, the amount and timing of all subsequent Distributions to holders of Allowed
General Unsecured Claims.

       5.05.   Personal Injury Claims – Class 5

        Allowance. As set forth more fully in the CRP (the provisions of which shall control in
the event of a conflict with the Plan), each holder of a Personal Injury Claim may establish the
Allowed amount, if any, of such Claim by electing to either (1) settle on an Allowed amount (the
“Stipulated Claim Amount”) based on various settlement criteria set forth in the CRP, as agreed
to by the holder and the Tort Claimants Trustee or as determined by the Bankruptcy Court (the
“Settlement Option”), or (2) participate in alternate dispute resolution (“ADR”) procedures set
forth in the CRP or, if ADR is unsuccessful, litigate the validity and amount of the Personal
Injury Claim (the “ADR/Litigation Option”).

        Notwithstanding the foregoing, to the extent a holder of a Personal Injury Claim has
agreed in writing to settle such Personal Injury Claim consistent with the settlement criteria set
forth in the CRP, then from and after the Effective Date, such settlement shall be binding on the
holder of the Personal Injury Claim and the Tort Claimants Trustee without further action of the
parties or order of the Bankruptcy Court. On the Effective Date, the Tort Claimants Trustee shall
pay each such holder of a Personal Injury Claim, the agreed amount set forth within the
applicable settlement agreement.

        With respect to all other Personal Injury Claims, within fourteen (14) days after the
Effective Date, the Tort Claimants Trustee shall send each holder of a Personal Injury Claim an
election form that contains, among other things, the Tort Claimants Trustee’s proposed
Stipulated Claim Amount of the claim under the Settlement Option. Each holder shall have
thirty (30) days after service of the election form to return the election form to the Tort
Claimants Trustee with the holder’s election of the Settlement Option or the ADR/Litigation
Option. Each holder who elects the Settlement Option must also indicate on the election form
whether the holder accepts the Tort Claimants Trustee’s proposed Stipulated Claim Amount, in
which event the Stipulated Claim Amount will be the Allowed amount of such holder’s Personal
Injury Claim. If the holder elects the Settlement Option but rejects the Tort Claimants Trustee’s
proposed Stipulated Claim Amount, the holder must state an alternative proposed Stipulated
Claim Amount. If the Tort Claimants Trustee and the holder disagree on the applicable

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settlement criteria and Stipulated Claim Amount, the Bankruptcy Court shall, upon motion by
the claimant, issue an Order determining the Stipulated Claim Amount for such holder’s Personal
Injury Claim based upon the applicable settlement criteria. Such Order shall be final and non-
appealable. Any holder of a Personal Injury Claim who fails to timely return the election form
shall be deemed to have accepted the Tort Claimants Trustee’s proposed Stipulated Claim
Amount. Each holder of a Personal Injury Claim who elects ADR/Litigation Option shall be
required to participate in non-binding mediation and, at the holder’s option, in binding arbitration
to establish the Allowed amount of his or her Personal Injury Claim. If mediation and, if
applicable, arbitration are unsuccessful, the holder may pursue litigation of his or her Personal
Injury Claim according to the terms provided in the CRP.

       Treatment.

               As set forth more fully in the CRP (the provisions of which shall control in the
event of a conflict with the Plan), each holder of an Allowed Personal Injury Claim shall receive
from the Tort Claimant Trust either (i) for those holders whose Personal Injury Claims are
Allowed under the Settlement Option, a Cash payment from the Tort Claimants Trust equal to
the Allowed amount of such holder’s Allowed Personal Injury Claim, payable within forty-five
days after the Allowance Date for such Claim, or (ii) for those holders whose Personal Injury
Claims are Allowed under the Litigation Option, a Cash payment from the Tort Claimants Trust
equal to a Pro Rata share of the Trust Assets available for such holders, payable at such time as
when all Personal Injury Claims have been fully liquidated.

                 Distributions from the Tort Claimants Trust to holders of Allowed Personal Injury
Claims against the NLH Debtors shall be limited by any statutory cap on the NLH Debtors’
liability, but shall be cumulative of, and without prejudice to, each such holder’s rights to seek
additional compensation on account of his or her Personal Injury Claim from the Patient’s
Compensation Fund.

       5.06.   Chicago Health Care Leasing Claims – Class 6

        All Chicago Health Care Leasing Claims shall be subordinated to all Allowed
Administrative Claims, Allowed Priority Tax Claims, and Allowed Claims in Classes 1-5. If and
only if all Allowed Administrative Claims, Allowed Priority Tax Claims, and Allowed Claims in
Classes 1-5 have been paid in full in the amount Allowed under the provisions of this Plan, the
holder of the Chicago Health Care Leasing Claims shall receive a Distribution from the
Unsecured Claimants’ Trust in an amount equal to the lesser of the Allowed amount of such
Claims and the remaining Trust Assets of the Unsecured Claimants Trust.

       5.07.   Encore Lender Claims – Class 7

        Treatment. On the Effective Date, the Holders of the Encore Lender Claims shall retain
their rights under the Encore Settlement Agreement but, in accordance therewith, shall not
receive or retain any property or any interest in property from the Debtors on account of such
Encore Lender Claims.




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       5.08.   Insider Claims – Class 8

        Disallowance; No Distribution. On the Effective Date, in partial consideration for the
releases provided to the Released Parties in Section 9.06 of the Plan, all Insider Claims shall be
cancelled, discharged and eliminated in full, and the holders of such Insider Claims shall not
receive or retain any property or any interest in property on account of such Insider Claims.

       5.09.   TCR Personal Injury Claims – Class 9

        On the Effective Date, in partial consideration for the releases provided to the Released
Parties in Section 9.06 of the Plan, all TCR Personal Injury Claims shall be cancelled, discharged
and eliminated in full, and the holders of such TCR Personal Injury Claims shall not receive or
retain any property or any interest in property on account of such TCR Personal Injury Claims.

       5.10.   Interests in the Debtors – Class 10

               No Distribution. Each holder of a Class 10 Interest will continue to hold such
Interest from and after the Effective Date, but will not receive any Distribution or exercise any
voting or other governing authority on account of such Interest.

                              ARTICLE VI
         MEANS FOR EXECUTION AND IMPLEMENTATION OF THIS PLAN

       6.01.   The Settlement

        Pursuant to Bankruptcy Rule 9019 and section 1123(b)(3)(A) of the Bankruptcy Code, in
consideration for the classification, distribution, resolution of Insider Claims, TCR Personal
Injury Claims and other benefits provided under the Plan, including, without limitation, the
Release Payment, upon the Effective Date, the provisions of the Plan shall constitute a good-faith
compromise and settlement of all controversies relating to: (i) any Claims and Causes of Action
against the Released Parties; (ii) the Insider Claims; (iii) the TCR Personal Injury Claims; and
(iv) the Chicago Health Care Leasing Claim (the “Settlement”). The Settlement shall be binding
upon Persons receiving Distributions under the Plan and on each of the Debtors, the Debtors’
Estates, the Committee, the Claimants Trusts and any other party treated under the Plan.

       6.02.   Distributions; Sources of Cash for Plan Distributions

        The Unsecured Claimants’ Trust shall make all Distributions required under (and subject
to the provisions of) the Plan to be made by the Debtors to holders of Allowed Administrative
Claims, Allowed Priority Tax Claims, and Allowed Claims in Classes 1-4 and, if applicable,
Allowed Claims in Class 6. The Tort Claimants Trust will make all Distributions required under
(and subject to the provisions of) the Plan to holders of Allowed Personal Injury Claims in Class
5. The sources of Cash necessary for the Claimants Trusts to pay Allowed Claims under the Plan
will be: (a) all Cash of the Debtors on hand as of the Effective Date; (b) the Release Payment in
the amount of $2.5 million to be provided by or on behalf of the Released Parties; and (c) any
Cash generated or received by the Unsecured Claimants Trusts on or after the Effective Date
from any other source, including, without limitation, the liquidation of all non-Cash Assets and


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accounts receivable of the Debtors and any recoveries from the prosecution of all Causes of
Action.

       6.03.   Transfers of Assets to the Claimants Trusts

       (a)     The Release Payment

       On the Effective Date, the Released Parties shall pay, or cause to be paid, the sum of
$1.45 million from the Release Payment in Cash to the Unsecured Claimants’ Trust. The
balance of the Release Payment will be paid to the Tort Claimants’ Trust.

       (b)     Debtors’ Cash and Accounts Receivable

        On the Effective Date, the Debtors shall pay all cash on hand to the Unsecured Claimants
Trust. In addition, from and after the Effective Date, HCN, in consultation with the Unsecured
Claimants Trust, shall administer the liquidation of the Debtors’ accounts receivable pursuant to
a Transition Services Agreement among HCN and the Unsecured Claimants Trust. The
Transition Services Agreement shall be included in the Plan Supplement. On ten days’ notice,
the Unsecured Claimants Trust may direct that all remaining accounts receivable be transferred
to the Unsecured Claimants Trust, which shall thereafter be responsible for collecting any
remaining amounts due. HCN shall, as received, transfer all proceeds from the liquidation of the
accounts receivable of the Debtors to the Unsecured Claimants Trust.

       (c)     Causes of Action

        On the Effective Date, all of the Debtors’ Causes of Action (other than Causes of Action
against the Released Parties which are being released under Section 9.06 of the Plan) shall be
transferred to and vest in the Unsecured Claimants Trust. To the extent any Cause of Action is
not transferable by a Debtor to the Unsecured Claimants Trust under applicable law, such Debtor
shall retain such Cause of Action and the Unsecured Claimants Trustee shall be entitled to
prosecute such Cause of Action in the name of such Debtor for the benefit of the Unsecured
Claimants Trust.

       The Unsecured Claimants Trust shall have the exclusive right to prosecute, settle, or
compromise any Cause of Action vested in or transferred to it under the Plan. All expenses of
prosecuting and administering the Causes of Action shall be allocated to and paid by the
Unsecured Claimants Trust. The net Cash proceeds from the prosecution of the Causes of
Action shall be paid to the Unsecured Claimants Trust.

       (d)     Remaining Assets

        Any remaining assets of the Debtors, in addition to those specifically identified herein,
shall, at the direction of the Unsecured Claimants’ Trust be transferred to such trust for
liquidation for the benefit of Class 4 unsecured claims.




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       6.04.   The Unsecured Claimants Trust

        Establishment of the Unsecured Claimants Trust. On the Effective Date, the
Unsecured Claimants Trust shall be established and shall become effective, and the Unsecured
Claimants Trustee shall execute the Unsecured Claimants Trust Agreement, and all other
necessary steps shall be taken to establish the Unsecured Claimants Trust. In the event of any
conflict between the terms of this Section 6.04 and the terms of the Unsecured Claimants Trust
Agreement, the terms of the Unsecured Claimants Trust Agreement shall govern. The Unsecured
Claimants Trust Agreement may provide powers, duties and authorities in addition to those
explicitly stated herein, but only to the extent that such powers, duties and authorities do not
affect the status of the Unsecured Claimants Trust as a liquidating trust for United States federal
income tax purposes.

        Purpose of the Unsecured Claimants Trust. The Unsecured Claimants Trust shall be
established for the sole purpose of liquidating and distributing its Trust Assets, in accordance
with Treasury Regulation section 301.7701-4(d), with no objective to continue or engage in the
conduct of a trade or business, except to the extent reasonably necessary to preserve or enhance
the value of the Trust Assets of the Unsecured Claimants Trust and consistent with the purpose
of the Unsecured Claimants Trust. The Unsecured Claimants Trust shall not be considered a
“business trust” for purposes of Bankruptcy Code section 101(9)(A)(v) or otherwise an entity
eligible to commence or be the subject of a proceeding under the Bankruptcy Code.

        Transfer and Vesting of Assets. All property paid, delivered and/or transferred to the
Unsecured Claimants Trust at any time, including all property transferred to the Unsecured
Claimants Trust pursuant to Section 6.02 of the Plan, shall vest in the Unsecured Claimants Trust
and constitute Trust Assets, free and clear of all Claims, Liens, interests and encumbrances, and
shall thereafter be administered, liquidated by sale, collection, recovery, or other disposition and
distributed by the Unsecured Claimants Trust in accordance with the terms of the Plan and the
Unsecured Claimants Trust Agreement.

        Distributions and Operating Expenses. The Unsecured Claimants Trustee shall
distribute the Trust Assets, net of payment or reserves for fees, costs and expenses of the
Unsecured Claimants Trust, to the holders of Allowed General Unsecured Claims in accordance
with the Plan and the Unsecured Claimants Trust Agreement. Except as otherwise provided in
the Plan or the Unsecured Claimants Trust Agreement, the timing and amount of all
Distributions payable by the Unsecured Claimants Trust shall be within the sole discretion of the
Unsecured Claimants Trustee. The Unsecured Claimants Trustee may reserve and use Cash
from the Trust Assets, in such amounts as the Unsecured Claimants Trustee shall deem
reasonable in his sole discretion, for the payment of expenses of the Unsecured Claimants Trust
and the Unsecured Claimants Trustee, including without limitation, professional fees and
expenses, costs of Distributions, and the prosecution and resolution of Causes of Action and
objections to Claims.

       Unsecured Claimants Trustee; Term. The Unsecured Claimants Trustee shall be a
Person selected by the Creditors Committee and approved by the Bankruptcy Court in the
Confirmation Order. The appointment of the Unsecured Claimants Trustee shall be effective as
of the Effective Date. Any successor Unsecured Claimants Trustee shall be appointed as set

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forth in the Unsecured Claimants Trust Agreement. Unless the Unsecured Claimants Trustee
resigns or dies earlier, the Unsecured Claimants Trustee’s term shall expire upon termination of
the Unsecured Claimants Trust pursuant to the Plan and/or the Unsecured Claimants Trust
Agreement.

       Rights, Powers and Duties of Unsecured Claimants Trustee. The Unsecured
Claimants Trustee shall have the rights, powers and duties set forth in the Plan and the
Unsecured Claimants Trust Agreement. The Unsecured Claimants Trustee will be a
representative of the Debtors’ Estates pursuant to Bankruptcy Code section 1123(b)(3) and as
such will have the power to prosecute all Causes of Action and object to and/or defend against
any Disputed Claims in the name of the Unsecured Claimants Trust or as necessary in the name
of any Debtor(s). The Unsecured Claimants Trustee shall be governed by the terms of the
Unsecured Claimants Trust Agreement and the Plan. The Unsecured Claimants Trustee shall
administer the Unsecured Claimants Trust and the Trust Assets and make Distributions in
accordance with the Plan and the Unsecured Claimants Trust Agreement. The Unsecured
Claimants Trustee shall be authorized, empowered and directed to take all actions necessary to
comply with the Plan and exercise and fulfill the duties and obligations arising thereunder,
including without limitation the following:

              (1)    hold the Trust Assets for the benefit of holders of Allowed General
Unsecured Claims that are entitled to Distributions therefrom under the Plan and the Unsecured
Claimants Trust Agreement and to otherwise make distributions as provided for under the Plan;

                (2)     administer, sell, liquidate, convert to Cash and distribute all Trust Assets
as specified in the Plan and the Unsecured Claimants Trust Agreement;

              (3)     object to Claims, and manage, control, prosecute and/or settle on behalf of
the Unsecured Claimants Trust, objections to Claims on account of which the Unsecured
Claimants Trustee will be responsible (if Allowed) for making Distributions under the Plan;

              (4)      execute any documents, instruments, contracts, and agreements necessary
and appropriate to carry out the powers and duties of the Unsecured Claimants Trust;

               (5)     pay and discharge any costs, expenses, fees or obligations deemed
necessary to preserve the Trust Assets or any part thereof or to preserve the Unsecured Claimants
Trust;

                (6)    open, maintain, and administer bank accounts as necessary to discharge
the duties of the Unsecured Claimants Trustee under the Plan and the Unsecured Claimants Trust
Agreement;

                (7)    sue and be sued and represent the Debtors, the Estates and the Unsecured
Claimants Trust before the Bankruptcy Court and other courts of competent jurisdiction with
respect to all Causes of Action, all Disputed Claims, and any other matters concerning the Plan
or the Unsecured Claimants Trust; and

              (8)    exercise such other powers as may be vested in the Unsecured Claimants
Trust or the Unsecured Claimants Trustee pursuant to the Plan, the Unsecured Claimants Trust

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Agreement, or any Final Order of the Bankruptcy Court and do all other acts that may be
necessary or appropriate for the final distribution of the Trust Assets.

       Retention of Professionals. The Unsecured Claimants Trustee may retain and
compensate attorneys and other professionals to assist in its duties as the Unsecured Claimants
Trustee on such terms as he or she deems appropriate without Bankruptcy Court approval. The
Unsecured Claimants Trustee shall be entitled to rely reasonably upon the advice of retained
professionals and shall not be liable for any action taken in reliance on such advice. The
reasonable and necessary fees and expenses of all such professionals and clerical assistants shall
be charged as expenses of the Unsecured Claimants Trust and shall be paid upon approval of the
Unsecured Claimants Trustee.

        Costs, Fees and Expenses of the Claimants Trust. Compensation and expenses of the
Unsecured Claimants Trustee and the costs and expenses of the Unsecured Claimants Trust,
including the fees and expenses of its retained professionals, shall be paid out of the Trust
Assets, which payments shall not require approval or an order of the Bankruptcy Court. Fees
and expenses incurred in connection with the prosecution, defense and/or settlement of any
Disputed Claims shall be considered costs and expenses of the Unsecured Claimants Trust. If a
dispute arises regarding the fees or expenses of the Unsecured Claimants Trustee or the
Unsecured Claimants Trustee’s professionals, the undisputed portion of such fees and expenses
may be paid pending the resolution of the disputed portion of such fees and expenses without
approval or an order of the Bankruptcy Court. The Unsecured Claimants Trustee may deduct
and/or reserve for all fees expenses reasonably incurred by the Unsecured Claimants Trustee or
its professionals in administering, preserving, or maintaining the Trust Assets from such assets or
the proceeds of such assets before making any Distribution to holders of Allowed General
Unsecured Claims.

        Indemnification and Limitation of Liability. The Unsecured Claimants Trustee shall
not be liable for actions taken or omitted in his capacity as the Unsecured Claimants Trustee,
except those acts arising out of his own fraud, intentional misconduct, or gross negligence. The
Unsecured Claimants Trustee shall be entitled to indemnification and reimbursement for all
losses, fees, and expenses in defending any and all of his actions or inactions in his capacity as
the Unsecured Claimants Trustee, except for any actions or inactions involving his own fraud,
intentional misconduct, or gross negligence. Any indemnification claim of the Unsecured
Claimants Trustee shall be satisfied from the Trust Assets. The Unsecured Claimants Trustee
shall be entitled to rely, in good faith, on the advice of his retained professionals.

        Distributable Cash; Investment. The Unsecured Claimants Trustee shall collect all
funds constituting property of the Claimants Trust and, pending distribution, shall deposit such
funds with a federally insured financial institution with a minimum of $200 million in capital and
that provides banking services. The Unsecured Claimants Trustee will deposit funds so that they
are adequately insured. Notwithstanding the foregoing, the Unsecured Claimants Trustee may
invest Cash (including any earnings thereon or proceeds therefrom) as permitted by section 345
of the Bankruptcy Code, provided, however, that such investments are investments permitted to
be made by a liquidating trust within the meaning of Treasury Regulation section 301.7701-4(d),
as reflected therein, or under applicable Internal Revenue Service guidelines, rulings, or other
controlling authorities.

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        Reporting Duties. Within 120 days after the end of each calendar quarter following the
Effective Date and concurrently with the filing of a motion to close the Bankruptcy Cases
pursuant to Bankruptcy Code section 350, the Unsecured Claimants Trustee will file with the
Bankruptcy Court an un-audited written report and account showing (i) the assets and liabilities
of the Unsecured Claimants Trust at the end of such quarter or upon termination, (ii) any changes
in such assets or liabilities that have not been previously reported, and (iii) any material action
taken by the Unsecured Claimants Trustee in the performance of his duties under the Unsecured
Claimants Trust and under the Plan that has not been previously reported.

        Standing. The Unsecured Claimants Trustee shall have the right to appear in the
Bankruptcy Court or any other court of competent jurisdiction and be heard on any matter
relating to the interpretation or implementation of the Plan or the Unsecured Claimants Trust
Agreement or any of the assets which are to be transferred to it under the Plan.

        Tax Treatment of the Unsecured Claimants Trust. The Unsecured Claimants Trust is
to be established for the benefit of holders of Allowed General Unsecured Claims in Class 4 and
is intended to qualify as a grantor trust for federal income tax purposes. All items of income,
deduction, credit or loss of the Unsecured Claimants Trust shall be allocated for federal, state
and local income tax purposes among the holders of Allowed General Unsecured Claims in Class
4.

        Dissolution. The Unsecured Claimants Trustee and the Unsecured Claimants Trust shall
be discharged and dissolved, respectively, at such time as (i) all of the Trust Assets have been
distributed pursuant to the Plan and the Unsecured Claimants Trust Agreement, (ii) the
Unsecured Claimants Trustee determines, in his sole discretion, that the administration of the
Trust Assets is not likely to yield sufficient additional proceeds to justify further pursuit, and (iii)
all Distributions required to be made by the Unsecured Claimants Trustee under the Plan and the
Unsecured Claimants Trust Agreement have been made, but in no event shall the Unsecured
Claimants Trust be dissolved later than five (5) years from the Effective Date unless the
Bankruptcy Court, upon motion within the six-month period before the fifth anniversary (or at
least six (6) months prior to the end of an extension period), determines that an extension (not to
exceed three years, together with any prior extensions, without a favorable private letter ruling
from the Internal Revenue Service that any further extension would not adversely affect the
status of the trust as a liquidating trust for United States federal income tax purposes) is
necessary to facilitate or complete the recovery and liquidation of the Trust Assets. If at any
time the Unsecured Claimants Trustee determines, in reliance upon such professionals as he may
retain, that the expense of administering the Unsecured Claimants Trust so as to make a final
Distribution to its beneficiaries is likely to exceed the value of the remaining Trust Assets, the
Unsecured Claimants Trustee may apply to the Bankruptcy Court for authority to (i) reserve any
amounts necessary to dissolve the Unsecured Claimants Trust, (ii) donate any balance to a
charitable organization described in 28 U.S.C. § 501(c)(3) and exempt from United States federal
income tax under 28 U.S.C. § 501(a) that is unrelated to the Debtors, the Unsecured Claimants
Trust, the Unsecured Claimants Trustee and any of their insiders, and (iii) dissolve the
Unsecured Claimants Trust.




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       6.05.   The Tort Claimants Trust

        Establishment of the Tort Claimants Trust. On the Effective Date, provided that there
remains at least one unsettled Class 5 Claim , the Tort Claimants Trust shall be established and
shall become effective, and the Tort Claimants Trustee shall execute the Tort Claimants Trust
Agreement, and all other necessary steps shall be taken to establish the Tort Claimants Trust. In
the event of any conflict between the terms of this Section 6.05 and the terms of the Tort
Claimants Trust Agreement, the terms of the Tort Claimants Trust Agreement shall govern. The
Tort Claimants Trust Agreement may provide powers, duties and authorities in addition to those
explicitly stated herein, but only to the extent that such powers, duties and authorities do not
affect the status of the Tort Claimants Trust as a liquidating trust for United States federal
income tax purposes.

         Purpose of the Tort Claimants Trust. The Tort Claimants Trust shall be established for
the sole purpose of liquidating and distributing its Trust Assets, in accordance with Treasury
Regulation section 301.7701-4(d), with no objective to continue or engage in the conduct of a
trade or business, except to the extent reasonably necessary to preserve or enhance the value of
the Trust Assets and consistent with the purpose of the Tort Claimants Trust. The Tort
Claimants Trust shall not be considered a “business trust” for purposes of Bankruptcy Code
section 101(9)(A)(v) or otherwise an entity eligible to commence or be the subject of a
proceeding under the Bankruptcy Code. The Tort Claimants Trust shall administer, process,
settle, resolve and liquidate all Personal Injury Claims; and shall use the Trust Assets and the
proceeds and income therefrom to pay all Personal Injury Claims that become Allowed and
qualify for payment only in accordance with the terms of the Tort Claimants Trust Agreement,
the CRP, the Plan and the Confirmation Order. The Tort Claimants Trustee will administer,
process, settle, resolve, liquidate, litigate, and/or pay, as applicable, all Personal Injury Claims in
such a way that the holders of Allowed Personal Injury Claims are treated equitably and in a
substantially similar manner, subject to the terms of the Tort Claimants Trust Agreement, the
CRP, the Plan and the Confirmation Order.

        The Tort Claimants Trust Agreement and the CRP; Amendment and Modification.
From and after the Effective Date, the Tort Claimants Trust shall implement the Tort Claimants
Trust Agreement and the CRP in accordance with their terms. The CRP shall provide
mechanisms such as, without limitation, Pro Rata and/or percentage Distributions of the Trust
Assets to the holders of Allowed Personal Injury Claims, net of payment or reserves for fees,
costs and expenses of the Tort Claimants Trust; periodic estimates by the Tort Claimants Trustee
and his professionals of the numbers and values of Personal Injury Claims and the costs of
liquidating such Claims under the terms of the CRP; and/or other comparable mechanisms that
provide reasonable assurance that the Tort Claimants Trust will be in a financial position to pay
similar Allowed Personal Injury Claims in substantially the same manner.

        The Tort Claimants Trustee shall have the power to amend, supplement or modify the
Tort Claimants Trust Agreement and the CRP, provided, however, that to the extent any
amendment, supplement or modification would constitute a material modification that would
affect the substantive rights of holders of Personal Injury Claims, such holders shall be provided
ten (10) days’ notice of such amendment, supplement or modification and an opportunity to
contest it before the Bankruptcy Court. If any holder contests a proposed amendment,

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supplement or modification within the notice period, such amendment, supplement or
modification shall not become effective until the Bankruptcy Court has authorized, or each
objecting party has consented to, amendment, supplement or modification.

        Transfer and Vesting of Assets; Defenses. All property paid, delivered and/or
transferred to the Tort Claimants Trust pursuant to Section 6.02 of the Plan, shall vest in the Tort
Claimants Trust and constitute Trust Assets, free and clear of all Claims, Liens, interests and
encumbrances, and shall thereafter be administered, liquidated by sale, collection, recovery, or
other disposition and distributed by the Tort Claimants Trust in accordance with the terms of the
Plan and the Tort Claimants Trust Agreement. The Tort Claimants Trust shall have all
objections, defenses, cross-claims, offsets and recoupments that the Debtors have or would have
had under applicable law with respect to the Personal Injury Claims.

        Tort Claimants Trust Distributions and Operating Expenses. The Tort Claimants
Trustee shall distribute the Trust Assets, net of payment or reserves for fees, costs and expenses
of the Tort Claimants Trust, to the holders of Allowed Personal Injury Claims in accordance with
the Plan, the Claimants Trust Agreement and the CRP. Except as otherwise provided in the Plan,
the Claimants Trust Agreement or the CRP, the timing and amount of all Distributions payable
by the Tort Claimants Trust shall be within the sole discretion of the Tort Claimants Trustee.
The Tort Claimants Trustee may reserve and use Cash from the Trust Assets, in such amounts as
the Tort Claimants Trustee shall deem reasonable in his sole discretion, for the payment of
expenses of the Tort Claimants Trust and the Tort Claimants Trustee, including without
limitation, professional fees and expenses, costs of Distributions, and the prosecution and
resolution of objections to Disputed Personal Injury Claims.

       Tort Claimants Trustee; Term. The Tort Claimants Trustee shall be a Person selected
by the Debtors and approved by the Bankruptcy Court in the Confirmation Order. [The initial
Tort Claimants Trustee shall be _____________.] The appointment of the Tort Claimants
Trustee shall be effective as of the Effective Date. Any successor Tort Claimants Trustee shall
be appointed as set forth in the Tort Claimants Trust Agreement. Unless the Tort Claimants
Trustee resigns or dies earlier, the Tort Claimants Trustee’s term shall expire upon termination of
the Tort Claimants Trust pursuant to the Plan and/or the Tort Claimants Trust Agreement.

        Rights, Powers and Duties of Tort Claimants Trustee. The Tort Claimants Trustee
shall have the rights, powers and duties set forth in the Plan, the Tort Claimants Trust Agreement
and the CRP. The Tort Claimants Trustee will be a representative of the Debtors’ Estates
pursuant to Bankruptcy Code section 1123(b)(3) and as such will have the power to prosecute all
Causes of Action and object to and/or defend against any Disputed Personal Injury Claims in the
name of the Tort Claimants Trust or as necessary in the name of any Debtor(s). The Tort
Claimants Trustee shall be governed by the terms of the Tort Claimants Trust Agreement, the
CRP and the Plan. The Tort Claimants Trustee shall administer the Tort Claimants Trust and the
Trust Assets and make Distributions in accordance with the Tort Claimants Trust Agreement, the
CRP and the Plan. The Tort Claimants Trustee shall be authorized, empowered and directed to
take all actions necessary to comply with the Plan and exercise and fulfill the duties and
obligations arising thereunder, including without limitation the following:




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              (1)     hold the Trust Assets for the benefit of holders of Allowed Personal Injury
Claims that are entitled to Distributions therefrom under the Plan, the Tort Claimants Trust
Agreement and the CRP;

              (2)    administer and distribute all Trust Assets as specified in the Tort
Claimants Trust Agreement, the CRP and the Plan;

               (3)      object to Claims, and manage, control, prosecute and/or settle on behalf of
the Tort Claimants Trust, objections to Claims on account of which the Tort Claimants Trustee
will be responsible (if Allowed) for making Distributions under the Plan;

               (4)    conserve the Trust Assets to maximize and ensure equitable Distributions
to holders of Allowed Personal Injury Claims, including, without limitation, by withdrawing the
Tort Claimants Trust from any litigation of Personal Injury Claims whose holders elect the
Litigation Option and fail to resolve their Personal Injury Claims through the ADR Procedures if,
in the sole judgment and discretion of the Tort Claimants Trustee, the costs of further litigation
of such Claims would unduly diminish the Trust Assets ultimately available to all holders of
Allowed Personal Injury Claims;

              (5)      execute any documents, instruments, contracts, and agreements necessary
and appropriate to carry out the powers and duties of the Tort Claimants Trust;

              (6)    pay and discharge any costs, expenses, fees or obligations deemed
necessary to preserve the Trust Assets or any part thereof or to preserve the Tort Claimants
Trust;

                (7)     open, maintain, and administer bank accounts as necessary to discharge
the duties of the Tort Claimants Trustee under the Plan and the Tort Claimants Trust Agreement;

                (8)     sue and be sued and represent the Debtors, the Estates and the Tort
Claimants Trust before the Bankruptcy Court, other courts of competent jurisdiction and any
arbitrator(s) with respect to all Disputed Claims, and any other matters concerning the Plan or the
Tort Claimants Trust; and

               (9)     exercise such other powers as may be vested in the Tort Claimants Trust
or the Tort Claimants Trustee pursuant to the Plan, the Tort Claimants Trust Agreement, the CRP
or any Final Order of the Bankruptcy Court and do all other acts that may be necessary or
appropriate for the final distribution of the Trust Assets.

        Retention of Professionals. The Tort Claimants Trustee may retain and compensate
attorneys and other professionals to assist in his duties as Tort Claimants Trustee on such terms
as he deems appropriate without Bankruptcy Court approval. The Tort Claimants Trustee shall
be entitled to rely reasonably upon the advice of retained professionals and shall not be liable for
any action taken in reliance on such advice. The reasonable and necessary fees and expenses of
all such professionals and clerical assistants shall be charged as expenses of the Tort Claimants
Trust and shall be paid upon approval of the Tort Claimants Trustee.



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       Costs, Fees and Expenses of the Tort Claimants Trust. Compensation of the Tort
Claimants Trustee and the costs and expenses of the Tort Claimants Trust, including the fees and
expenses of the Tort Claimants Trustee and its retained professionals, shall be paid out of the
Trust Assets, which payments shall not require approval or an order of the Bankruptcy Court.
Fees and expenses incurred in connection with the prosecution, defense and/or settlement of any
Disputed Personal Injury shall be considered costs and expenses of the Tort Claimants Trust. If
a dispute arises regarding the fees or expenses of the Tort Claimants Trustee or the Tort
Claimants Trustee’s professionals, the undisputed portion of such fees and expenses may be paid
pending the resolution of the disputed portion of such fees and expenses without approval or an
order of the Bankruptcy Court. The Tort Claimants Trustee may deduct and/or reserve for all
fees expenses reasonably incurred by the Tort Claimants Trustee or the Tort Claimants Trustee’s
professionals in administering, preserving, or maintaining the Trust Assets from such assets or
the proceeds of such assets before making any Distribution to holders of Allowed Personal Injury
Claims.

        Indemnification and Limitation of Liability. The Tort Claimants Trustee shall not be
liable for actions taken or omitted in his capacity as the Tort Claimants Trustee, except those acts
arising out of his own fraud, intentional misconduct, or gross negligence. The Tort Claimants
Trustee shall be entitled to indemnification and reimbursement for all losses, fees, and expenses
in defending any and all of his actions or inactions in his capacity as the Tort Claimants Trustee,
except for any actions or inactions involving his own fraud, willful misconduct, or gross
negligence. Any indemnification claim of the Tort Claimants Trustee shall be satisfied from the
Trust Assets. The Tort Claimants Trustee shall be entitled to rely, in good faith, on the advice of
his retained professionals.

        Distributable Cash; Investment. The Tort Claimants Trustee shall collect all funds
constituting property of the Tort Claimants Trust and, pending distribution, shall deposit such
funds with a federally insured financial institution with a minimum of $200 million in capital and
that provides banking services. The Tort Claimants Trustee will deposit funds so that they are
adequately insured. Notwithstanding the foregoing, the Tort Claimants Trustee may invest Cash
(including any earnings thereon or proceeds therefrom) as permitted by section 345 of the
Bankruptcy Code, provided, however, that such investments are investments permitted to be
made by a liquidating trust within the meaning of Treasury Regulation section 301.7701-4(d), as
reflected therein, or under applicable Internal Revenue Service guidelines, rulings, or other
controlling authorities.

        Reporting Duties. Within 120 days after the end of each calendar quarter following the
Effective Date and concurrently with the filing of a motion to close the Bankruptcy Cases
pursuant to Bankruptcy Code section 350, the Tort Claimants Trustee will file with the
Bankruptcy Court an un-audited written report and account showing (i) the assets and liabilities
of the Tort Claimants Trust at the end of such quarter or upon termination, (ii) any changes in the
assets or liabilities of the Tort Claimants Trust that have not been previously reported, and (iii)
any material action taken by the Tort Claimants Trustee in the performance of his duties under
the Tort Claimants Trust and under the Plan that has not been previously reported.

       Standing. The Tort Claimants Trustee shall have the right to appear in the Bankruptcy
Court or any other court of competent jurisdiction or arbitration tribunal and be heard on any

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matter relating to the interpretation or implementation of the Plan, the Tort Claimants Trust
Agreement or the CRP.

        Tax Treatment of the Tort Claimants Trust. The Tort Claimants Trust is to be
established for the benefit of holders of Allowed Personal Injury Claims in Class 5 and is
intended to qualify as a grantor trust for federal income tax purposes. All items of income,
deduction, credit or loss of the Tort Claimants Trust shall be allocated for federal, state and local
income tax purposes among the holders of Allowed Personal Injury Claims in Class 5.

        Dissolution. The Tort Claimants Trustee and the Tort Claimants Trust shall be
discharged and dissolved, respectively, at such time as (i) all of the Trust Assets have been
distributed pursuant to the Tort Claimants Trust Agreement, the CRP and the Plan, (ii) the Tort
Claimants Trustee determines, in his sole discretion, that the administration of the Trust Assets is
not likely to yield sufficient additional proceeds to justify further pursuit, and (iii) all
Distributions required to be made by the Tort Claimants Trustee under the Tort Claimants Trust
Agreement, the CRP and the Plan have been made, but in no event shall the Tort Claimants Trust
be dissolved later than five (5) years from the Effective Date unless the Bankruptcy Court, upon
motion within the six-month period before the fifth anniversary (or at least six (6) months prior
to the end of an extension period), determines that an extension (not to exceed three years,
together with any prior extensions, without a favorable private letter ruling from the Internal
Revenue Service that any further extension would not adversely affect the status of the trust as a
liquidating trust for United States federal income tax purposes) is necessary to facilitate or
complete the recovery and liquidation of the Trust Assets. If at any time the Tort Claimants
Trustee determines, in reliance upon such professionals as the Tort Claimants Trustee may
retain, that the expense of administering the Tort Claimants Trust so as to make a final
Distribution to its beneficiaries is likely to exceed the value of the assets remaining in the Tort
Claimants Trust, the Tort Claimants Trustee may apply to the Bankruptcy Court for authority to
(i) reserve any amounts necessary to dissolve the Tort Claimants Trust, (ii) remit any balance to
the Unsecured Claimants Trust, and (iii) dissolve the Tort Claimants Trust.

       6.06.   Duties of the Creditors Committee

        The duties of the Creditors Committee and its Professionals will terminate on the later of:
(a) the Effective Date; and (b) the resolution of any Fee Applications filed or objected to by the
Creditors Committee or its Professionals. Upon the termination of the duties of the Creditors
Committee and its Professionals, the Creditors Committee will be dissolved and its members will
be deemed released by the Debtors from (y) all their duties, responsibilities and obligations in
connection with the Bankruptcy Cases, and (z) all claims and Causes of Action relating to or
arising directly or indirectly from services performed. Upon the dissolution of the Creditors
Committee, no notice to the Creditors Committee that might otherwise be required pursuant to an
order of the Bankruptcy Court shall be required.




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                                 ARTICLE VII
                      TREATMENT OF EXECUTORY CONTRACTS

       7.01.   General Treatment of Executory Contracts: Rejected

        The Plan constitutes and incorporates a motion under Bankruptcy Code sections 365 and
1123(b)(2) to (a) reject, as of the Effective Date, all Executory Contracts to which any Debtor is
a party, except for any Executory Contract that was terminated before the Effective Date or has
been assumed or rejected pursuant to an order of the Bankruptcy Court entered before the
Effective Date, and (b) assume all Executory Contracts, if any, identified in the Schedule of
Assumed Contracts that will be included in the Plan Supplement.

         The Confirmation Order shall constitute an order of the Bankruptcy Court under
Bankruptcy Code sections 365 and 1123(b)(2) approving the rejection or assumption, as
applicable, of Executory Contracts pursuant to the Plan as of the Effective Date. Notice of the
Confirmation Hearing shall constitute notice to any non-debtor party to an Executory Contract
that is to be assumed or rejected under the Plan of the proposed assumption or rejection of such
Executory Contract and any proposed Cure Amount.

       7.02.   Cure Payments and Release of Liability

        Except as otherwise provided in a Final Order, pursuant to Bankruptcy Code sections
365(a), (b), (c) and (f), all Cure Amounts that may require payment under Bankruptcy Code
section 365(b)(1) under any Executory Contract that is assumed pursuant to a Final Order (which
may be the Confirmation Order) shall be paid by the Claimants Trust within fifteen (15)
Business Days after such order becomes a Final Order with respect to Cure Amounts that are not
Disputed or within fifteen (15) Business Days after a Disputed Cure Amount is Allowed by
agreement of the parties or a Final Order. If a party to an assumed Executory Contract has not
filed an appropriate pleading on or before the date of the Confirmation Hearing disputing any
proposed Cure Amount, the cure of any other defaults, the promptness of the Cure Amount
payments, or the provision of adequate assurance of future performance, then such party shall be
deemed to have waived its right to dispute such matters. Any party to an assumed Executory
Contract that receives full payment of a Cure Amount shall waive the right to receive any
payment on a Class 5 General Unsecured Claim that relates to or arises out of such assumed
Executory Contract. Notwithstanding the foregoing, the Debtor or the Claimants Trust may, in
its sole discretion, file a motion to reject any Executory Contract as to which a Cure Claim is
established by an order of the Bankruptcy Court, and any such motion shall be filed no later than
five (5) Business Days after the order of the Bankruptcy Court allowing such Cure Claim
becomes a Final Order.

       7.03.   Bar to Rejection Claims

        If the rejection of an Executory Contract pursuant to Section 7.01 or 7.02 of the Plan
gives rise to a Claim by any non-Debtor party or parties to such Executory Contract, such Claim
shall be forever barred and shall not be enforceable against the Debtors, the Estates, the
Claimants Trust or the agents, successors, or assigns of the foregoing, unless a proof of such
Claim is filed with the Bankruptcy Court and served upon the Debtors and the Claimants Trust


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on or before the Rejection Bar Date. Any holder of a Claim arising out of the rejection of an
Executory Contract that fails to file a proof of such Claim on or before the Rejection Bar Date
shall be forever barred, estopped, and enjoined from asserting such Claim against the Debtors,
the Estates, the Claimants Trust or any of their Assets. Nothing contained herein shall extend the
time for filing a proof of Claim for rejection of any Executory Contract rejected before the
Confirmation Date.

       7.04.   Rejection Claims

        Any Rejection Claim arising from the rejection of an Executory Contract shall be treated
as a General Unsecured Claim pursuant to the Plan, except as limited by the provisions of
Bankruptcy Code sections 502(b)(6) and 502(b)(7) and mitigation requirements under applicable
law. Nothing contained herein shall be deemed an admission by the Debtor that such rejection
gives rise to or results in a Rejection Claim or shall be deemed a waiver by the Debtor or any
other party in interest of any objections to such Rejection Claim if asserted.

                             ARTICLE VIII
         CONDITIONS TO CONFIRMATION DATE AND EFFECTIVE DATE;
                     EFFECT OF PLAN CONFIRMATION

       8.01.   Conditions Precedent to Confirmation Date

        The occurrence of the Confirmation Date of the Plan is subject to satisfaction or waiver
by the Proponents of each of the following conditions:

        The Bankruptcy Court shall have entered a Final Order, in form and substance acceptable
to the Proponents, approving the Disclosure Statement;

      The proposed Confirmation Order shall be in form and substance acceptable to the
Proponents; and

         All of the schedules, documents, supplements and exhibits to the Plan shall have been
filed in form and substance acceptable to the Proponents.

       8.02.   Conditions Precedent to the Effective Date

       The occurrence of the Effective Date of the Plan is subject to the occurrence or waiver by
the Proponents of each of the following conditions precedent:

       The Confirmation Order shall have become a Final Order in form and substance
acceptable to the Proponents;

        All documents constituting the Plan Supplement shall be in form and substance
acceptable to the Proponents and shall have been executed and delivered by the parties thereto,
and all conditions to the effectiveness of such documents shall have been satisfied or waived as
provided therein;




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      The Claimants Trusts shall have been established in conformity with the Claimants Trust
Agreements and applicable law; and

        All Assets required to be transferred to the Claimants Trusts in accordance with the Plan
shall have been so transferred, and all filings, deliveries, and actions to be taken in conjunction
with such transfers pursuant to the Plan shall have been made and taken, all in a manner
acceptable to the Proponents.

        The Proponents, jointly and not severally, may waive any of the foregoing conditions to
the Effective Date, in whole or in part, in writing signed by all of the Proponents, without notice
to any other parties in interest or the Bankruptcy Court, without any hearing or order of the
Bankruptcy Court, and without any formal action other than proceeding to consummate the Plan.
Without limiting the foregoing, the Effective Date may occur notwithstanding the pendency of
an appeal of the Confirmation Order so long as there is no stay in effect, if the Proponents so
elect in writing. The Effective Date may occur before the expiration of time to take an appeal or
to seek reconsideration of the Confirmation Order without the giving of any notice to any
objecting party, if the Proponents so elect in writing. In the event of any such appeal, the
Proponents or any other party in interest may seek the dismissal of such appeal on any grounds.
The failure of the Proponents to exercise any of the foregoing rights shall not be deemed a
waiver of any other rights, and each such right shall be deemed an ongoing right that may be
asserted at any time. The Proponents will file with the Bankruptcy Court, and serve a copy on all
parties in interest, a notice of the Effective Date within five (5) Business Days after its
occurrence.

       8.03.   Consequences of Non-Occurrence of Effective Date

        If the Effective Date does not timely occur, the Proponents reserve all rights to seek an
order from the Bankruptcy Court directing that the Confirmation Order be vacated and/or that the
Plan be null and void in all respects. If the Bankruptcy Court enters an order vacating the
Confirmation Order, the time within which the Debtors may assume and assign, or reject, all
Executory Contracts not previously assumed, assumed and assigned, or rejected shall be
extended for a period of thirty (30) days after the date the Confirmation Order is vacated or as
further extended by the Bankruptcy Court.

       8.04.   Approval of Plan Documents

        The solicitation of votes on the Plan shall be deemed a solicitation for the approval of the
Plan Supplement and all transactions contemplated hereunder. Entry of the Confirmation Order
shall constitute approval of the Plan Supplement and such transactions. On the Effective Date,
the Reorganized Debtors and the Claimants Trusts shall be authorized to enter into, file, execute
and/or deliver each of the Plan Supplement documents and any other agreement or instrument
issued in connection with any Plan Supplement without the necessity of any further corporate,
board, shareholder, creditor or beneficiary action.




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                                 ARTICLE IX
               EFFECT OF PLAN CONFIRMATION AND EFFECTIVE DATE

       9.01.    Binding Effect

        From and after the Effective Date, the Plan shall be binding upon and inure to the benefit
of the Debtors, the Claimants Trustee, all former, present and future holders of Claims and
Interests, and their respective successors and assigns, and all other parties in interest in the
Bankruptcy Cases. Confirmation of the Plan binds each holder of a Claim or an Interest to the
terms and conditions of the Plan, whether or not such holder has accepted the Plan.

       9.02.    Vesting of Assets

        Except as otherwise provided in this Plan and the Confirmation Order, all property and
Assets of the Debtors shall vest in the Claimants Trust in accordance with the terms of the Plan,
free and clear of all Claims, Interests, Liens, encumbrances, charges and other interests. To the
extent any unrecorded Liens against or ownership interests in any such Assets exist or are
asserted by third parties, such Liens and interests shall be voided and transferred to the Claimants
Trust as of the Effective Date. Commencing on the Effective Date, the Claimants Trust may deal
with the Assets and the Trust Assets and conduct its business without any supervision by, or
permission from, the Bankruptcy Court or the Office of the United States Trustee, and free of
any restriction imposed on the Debtors by the Bankruptcy Code or by the Bankruptcy Court
during the Bankruptcy Cases, other than any restrictions contained in the Plan, the Trust
Agreement, the Confirmation Order, and related documents.

       9.03.    Assertion of Causes of Action, Defenses and Counterclaims

        Except as set forth in the Plan or the Confirmation Order, effective as of the Effective
Date, without further action by any party, all Causes of Action (other than Causes of Action
against the Released Parties which are being released under Section 9.06 of the Plan), and all
defenses, counterclaims, setoffs and rights related thereto or related to any Disputed Claim, shall
be and shall be deemed to be transferred to the Unsecured Claimants Trust. From and after the
Effective Date, and subject to the terms of the Unsecured Claimants Trust Agreement, the
Unsecured Claimants Trust shall have the exclusive right to prosecute, settle, or compromise any
Cause of Action vested in or transferred to it under the Plan. To the extent any Cause of Action,
or any defense, counterclaim, setoff or right related thereto or related to any Disputed Claim, is
not transferable by a Debtor to the Unsecured Claimants Trust under applicable law, the relevant
Debtor shall retain such Cause of Action, defense, counterclaim, setoff or right, and the
Unsecured Claimants Trust shall be entitled to prosecute such Cause of Action, defense,
counterclaim, setoff or right in the name of the relevant Debtor. Each Debtor shall retain and
may prosecute and enforce all other defenses, counterclaims, and rights that it has asserted or
could assert against or with respect to all Claims asserted against such Debtor or property of its
Estate for the benefit of the Unsecured Claimants Trust. No claim, right, Cause of Action, or
other Asset shall be deemed waived or otherwise forfeited by virtue of a Debtor’s failure to
identify such property in the Schedules or the Disclosure Statement unless otherwise ordered by
the Bankruptcy Court.



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        Except as provided in the Plan, nothing contained in the Plan or the Confirmation Order
shall be deemed to be a waiver or the relinquishment of any rights or Causes of Action that the
Debtors or the Unsecured Claimants Trust may have or which the Unsecured Claimants Trust
may choose to assert on behalf of the Debtors’ Estates under any provision of the Bankruptcy
Code or any applicable nonbankruptcy law, including, without limitation, (i) any and all Claims
against any person or entity, to the extent such person or entity asserts a crossclaim,
counterclaim, and/or Claim for setoff which seeks affirmative relief against a Debtor, the
Claimants Trust, or their officers, directors, members or representatives, and (ii) the turnover of
any property of the Debtors’ Estates.

        Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver
or relinquishment of any Claim, Cause of Action, right of setoff, or any other legal or equitable
defense which the Debtors had immediately before the Petition Date, against or with respect to
any Claim left unimpaired by the Plan. The Unsecured Claimants Trust shall have, retain,
reserve, and be entitled to assert all such claims, causes of action, rights of setoff, and other legal
or equitable defenses which the Debtors had immediately before the Petition Date fully as if the
Bankruptcy Cases had not been commenced, and all of the Debtors’ legal and equitable rights
respecting any Claim left unimpaired by the Plan may be asserted after the Confirmation Date by
the Unsecured Claimants Trust to the same extent as if the Bankruptcy Cases had not been
commenced.

       9.04.   Discharge of Debtors

        Except as provided in the Bankruptcy Code, the Plan or the Confirmation Order, all
consideration distributed under the Plan will be in exchange for, and in complete satisfaction,
settlement, discharge, and release of, all Claims against and Interests in the Debtors of any nature
whatsoever, whether known or unknown, or against the Assets of the Debtors that arose before
the Effective Date. Except as provided in the Bankruptcy Code, the Plan or the Confirmation
Order, upon the Effective Date, entry of the Confirmation Order acts as a discharge and release
under Bankruptcy Code section 1141(d)(1)(A) of all Claims against and Interests in the Debtors
and their Assets, arising at any time before the Effective Date, regardless of whether a proof of
Claim or Interest was filed, whether the Claim or Interest is Allowed, or whether the holder of
the Claim or Interest votes to accept the Plan or is entitled to receive a Distribution under the
Plan. Except as provided in the Plan or the Confirmation Order, upon the Effective Date, any
holder of a discharged Claim or Interest will be precluded from asserting against the Debtors, the
Claimants Trust, or any Assets of the Debtors or the Claimants Trust any other or further Claim
or Interest based on any document, instrument, act, omission, transaction or other activity of any
kind or nature that occurred before the Effective Date. Except as provided in the Plan or the
Confirmation Order, and subject to the occurrence of the Effective Date, the Confirmation Order
will be a judicial determination of discharge of all liabilities of the Debtors to the extent allowed
under Bankruptcy Code section 1141, and the Debtors and the Claimants Trust will not be liable
for any Claims or Interests and will only have the obligations as are specifically provided for in
the Plan.




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       9.05.   Exculpation

        The Debtors and their respective present or former principals, agents, members, officers,
directors, and employees; the Debtors’ Professionals; the members of the Creditors Committee
(solely in their capacity as such and not in their individual capacity); the Creditors Committee’s
Professionals; and any of such parties’ representatives, successors, and assigns shall not have
or incur any liability or obligation, whether liquidated or unliquidated, fixed or contingent,
matured or unmatured, known or unknown, foreseen or unforeseen, and whether asserted or
assertable directly or derivatively, in law, equity, or otherwise, to any holder of a Claim or
Interest or any other Person for any act or omission originating or occurring on or after the
Petition Date through and including the Effective Date in connection with, relating to, or arising
out of the Debtors, the Estates, the administration of the Bankruptcy Cases, the operation of the
Debtors’ business during the Bankruptcy Cases, the formulation, negotiation, preparation, filing,
dissemination, approval, or confirmation of the Plan, the Disclosure Statement, the solicitation
of votes for or confirmation of the Plan, the consummation or administration of the Plan, or the
property to be distributed under the Plan, except for their willful misconduct or gross negligence
as determined by a Final Order of a court of competent jurisdiction. The foregoing parties will
be entitled to rely reasonably upon the advice of counsel in all respects regarding their duties
and responsibilities under the Plan.

       9.06.   Release

        In consideration of the Release Payment and the other consideration provided under the
Plan, as of the Effective Date, each of the Debtors (including in their individual capacities and
as debtors in possession) and their Estates will and will be deemed to have forever released,
waived and discharged each of the Released Parties from any and all Causes of Action, Claims,
obligations, suits, judgments, damages, demands, debts, rights, and liabilities, whether for tort,
contract, or any other theory of liability or recovery (including, without limitation, alter ego,
piercing the corporate veil. breach of fiduciary duty, or conspiracy), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, and whether asserted or assertable directly or derivatively, then existing or
thereafter arising, in law, equity or otherwise that are based in whole or part on any act,
omission, transaction, event or other occurrence taking place on or before the Effective Date in
any way relating to the Debtors, the ownership, management and operations of the Debtors, the
Bankruptcy Cases, or the Plan, or negotiations regarding or concerning the Plan, and the
Released Parties shall not have or incur any liability or obligation, whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, and in law, equity, or otherwise, to the Debtors or their Estates (or, derivatively of
the Debtors, to any holder of a Claim or Interest or any other Person) for any of the foregoing
Causes of Action or Claims.

        Each Person to which this Section applies shall be deemed to have granted the releases
set forth in this Section notwithstanding that it may hereafter discover facts in addition to, or
different from, those that it now knows or believes to be true, and without regard to the
subsequent discovery or existence of such different or additional facts, and such Persons
expressly waive any and all rights that they may have at common law or under any statute or


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other applicable law that would limit the effect of such releases to those claims or causes of
action actually known or suspected to exist as of the Effective Date.

       9.07.   Injunction

        Except as otherwise provided in the Plan, the Confirmation Order shall provide that from
and after the Effective Date, all holders of Claims against and Interests in the Debtors are
permanently enjoined from taking any of the following actions against the Debtors, the
Claimants Trusts and/or any of the Released Parties or any of their property on account of any
such Claim or Interest: (a) commencing or continuing in any manner or in any place, any action
or other proceeding; (b) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order; (c) creating, perfecting, or enforcing any encumbrance
or Lien; (d) asserting a setoff, subrogation, or recoupment of any kind against any debt, liability,
or obligation due to a Debtor; and (e) commencing or continuing, in any manner or in any
place, any action that does not conform to or comply with, or is inconsistent with, the provisions
of the Plan; provided, however, that nothing contained herein shall preclude such Persons from
exercising their rights pursuant to and consistent with the terms of the Plan or the Confirmation
Order. If allowed by the Bankruptcy Court, any Person injured by any willful violation of such
injunction shall recover actual damages, including costs and attorneys’ and experts’ fees and
disbursements, and, in appropriate circumstances, may recover punitive damages, from the
willful violator.

       9.08.   Term of Bankruptcy Injunction or Stays

        Unless otherwise provided herein or an order of the Bankruptcy Court (including, without
limitation, the Confirmation Order), all injunctions or stays provided in the Bankruptcy Cases
under Bankruptcy Code section 105 or 362, or otherwise, and in existence on the Confirmation
Date, shall remain in full force and effect until the Effective Date. Upon the Effective Date, the
injunction provided in Section 9.07 of the Plan shall be effective.

       9.09.   Effectuating Documents; Further Transactions; Timing

       The Debtors and the Claimants Trustee are authorized to execute, deliver, file, or record
such contracts, instruments, releases, and other agreements or documents and to take such
actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan. All transactions that are required to occur on the Effective Date under the
terms of the Plan shall be deemed to have occurred simultaneously, unless otherwise provided in
the Plan.

       9.10.   Post Effective Date Undertakings by HCN

       Following the Effective Date, HCN shall be responsible for the following on behalf of the
Debtors pursuant to the terms and conditions of the Transition Services Agreement:

      i.     payroll tax return preparation and filing as well as responding to insurance and/or
workers compensation issues;

       ii.     income tax return preparation and filing;

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       iii.    cost reports preparation and filing;

       iv.     administration of medical insurance and claims;

       v.      closure of the Debtors’ bank accounts;

       vi.     closure and transfer of the Debtors’ 401k or any other employee benefit accounts;

       vii.   state dissolution of Debtor legal entities and satisfaction of any state reporting
requirements;

       viii.   patient file maintenance;

       ix.     provide access to the Debtors’ books, records and computer files as reasonably
necessary to administer the Claimants Trusts; and

      x.      provide factual and documentary support as is reasonably necessary for the
Claimants Trust to prosecute any litigation, Causes of Action, Claims or objections to Claims.

       9.11.   Post-Effective Date Corporate Existence

        To the extent it has not previously occurred, each Reorganized Debtor is authorized and
empowered to merge into or with each other Reorganized Debtor and the officers or managers
thereof and any successor thereto (including without limitation any other designated officer or
trustee or representative of each such Reorganized Debtor) is authorized and empowered to
effect each such merger and to take and cause to be taken such actions in order to carry out such
mergers, in each case, on such terms and conditions it may deem necessary or desirable. The
officers or managers of such Reorganized Debtors (including without limitation any other
designated officer or trustee or representative of each such Reorganized Debtor) are authorized
and empowered to effect the dissolution of any remaining Reorganized Debtors as soon as
practicable after the Effective Date. The foregoing actions are pursuant to the applicable laws of
the states in which the Debtors and the Reorganized Debtors are organized, without any
requirement of further action by the stockholders, directors, members, managers, or partners of
the Debtors or Reorganized Debtors.




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                                   ARTICLE X
                       OBJECTIONS TO CLAIMS; DISTRIBUTIONS

       10.01. Objections to Claims and Interests

        After the Effective Date, any party in interest, including the Debtors and the Claimants
Trusts, may file objections to Claims (other than Claims that have been previously Allowed or
that are Allowed under the Plan). The Debtors (or their designees, successors and assigns) and
the Claimants Trusts are not obligated to object to any Claim, but will nevertheless have standing
to object to any such Claim from and after the Effective Date, if they so elect. Nothing in this
Section is intended to limit the right of any party to object to Claims.

       10.02. Objection Deadline

        Except as set forth in Sections 2.01(a) and 2.01(b) of the Plan with respect to
Administrative Claims and Fee Claims, any objections to Claims must be filed no later than the
Objection Deadline. An objection to a Claim will be deemed properly served on the holder
thereof if service is effected by any of the following methods: (a) in accordance with Federal
Rule of Civil Procedure 4, as modified and made applicable by Bankruptcy Rule 7004; (b) to the
extent counsel for a holder is unknown, by first class mail, postage prepaid, on the signatory on
the proof of Claim or other representative identified on the proof of Claim or any attachment
thereto; (c) by first class mail, postage prepaid, on any counsel that has appeared on the behalf of
the holder in the Bankruptcy Cases; or (d) if no proof of Claim has been filed, by first class mail,
postage prepaid, on the holder of such Claim at the address set forth in the Schedules.

       10.03. Settlement of Objections to Claims

        From and after the Effective Date, the Debtors, the Unsecured Claimants Trustee and the
Tort Claimants Trustee, as applicable, are authorized to approve compromises of all Claims or
Disputed Claims, pursuant to Bankruptcy Rule 9019(b) and to execute necessary documents,
including Lien releases (subject to the written consent of the party having such Lien) and
stipulations of settlement, compromise or release, without further order of the Bankruptcy Court.

       10.04. No Interest on Claims

        Unless otherwise specifically provided for in the Plan or the Confirmation Order, post-
petition interest shall not accrue or be paid on any Claim, and no holder of a Claim shall be
entitled to interest accruing on or after the Petition Date. Additionally, and without limiting the
foregoing, interest shall not accrue or be paid on any Disputed Claim for the period from the
Petition Date to the date a Distribution is made when and if such Disputed Claim becomes an
Allowed Claim.

       10.05. Setoffs; No Waiver

        The Debtors, HCN and the Claimants Trusts may but shall not be required to, set off
against or recoup from any Claim or any payment or Distribution to be made pursuant to the Plan

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in respect of such Claim, any Cause of Action or any Claim of any nature whatsoever that the
Debtors and the Claimants Trusts may have to the fullest extent permitted under applicable law.
Any dispute related to the setoff or recoupment rights of the Debtors and the Claimants Trusts
shall be determined by the Bankruptcy Court. Neither the failure to effect such a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by the
Debtors or the Claimants Trusts of any such claims or Causes of Action that any of them may
have against such holder or any affiliate of such holder.

       10.06. Procedures for Treating and Resolving Disputed and Contingent Claims

        No Distributions Pending Allowance. Notwithstanding any other provision of the Plan,
the Claimants Trusts shall make Distributions only to holders of Allowed Claims or their
designees as provided herein. No holder of a Disputed Claim will receive any Distribution on
account thereof until and to the extent that its Disputed Claim becomes an Allowed Claim. To
the extent a Claim is not a Disputed Claim but is held by a holder that is or may be liable to a
Debtor on account of a Cause of Action, no payments or Distributions shall be made with respect
to all or any portion of such Claim unless and until such Cause of Action has been settled,
withdrawn, or determined by a Final Order or such other court having jurisdiction over the
matter.

        In determining the amount of a Pro Rata Distribution due to the holders of Allowed
Claims, the Claimants Trusts may, in their discretion, make the Pro Rata calculation as if all
Disputed Claims were Allowed in the full amount claimed or in the amount estimated under
Section 10.06(b) hereof. The Claimants Trusts, in their discretion, may withhold Distributions
otherwise due hereunder to the holder of a Disputed Claim, or to its designee as provided herein,
until the Objection Deadline, to enable the Claimants Trusts or any other party in interest to file a
timely objection thereto.

        Claim Estimation. The Debtors or the Claimants Trusts may request that the
Bankruptcy Court enter an Estimation Order with respect to any Claim, pursuant to Bankruptcy
Code section 502(c), for purposes of determining the Allowed amount of such Claim, regardless
of whether any Person has previously objected to such Claim or whether the Bankruptcy Court
has ruled on any such objection. The Bankruptcy Court will determine (i) whether any Claim is
subject to estimation pursuant to Bankruptcy Code section 502(c) and (ii) the timing and
procedures for such estimation proceedings, if any. If the Bankruptcy Court estimates any
contingent or unliquidated Claim for allowance purposes, that estimated amount will constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim, as determined
by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on such
Claim, the objecting party may elect to pursue any supplemental proceedings to object to any
ultimate allowance of such Claim. The Bankruptcy Court will retain jurisdiction to estimate any
Claim at any time during litigation concerning any objection to any Claim, including, without
limitation, during the pendency of any appeal relating to any such objection. Claims may be
estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism
approved by the Plan or the Bankruptcy Court.

        Distribution Reserve Accounts.       On or after the Effective Date, the Claimants Trusts,
in their sole discretion, may create one or more separate Distribution Reserve Accounts from the

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Cash to be distributed to or for the benefit of the holders of Disputed Claims pending the
allowance thereof. Each Distribution Reserve Account may be segregated by Class or, as
applicable, by Administrative Claims and Priority Tax Claims. The portion of assets in a
Distribution Reserve Account allocable to, or retained on account of, a Disputed Claim shall be
equal to the lesser of (i) the amount of such Claim as estimated pursuant to the procedure in
section 10.06(b) of the Plan; (ii) the amount of such Claim as asserted by the holder; or (iii) an
amount to be agreed upon between HCN or the Claimants Trustee, as applicable, and the holder
of such Claim. A holder of a Claim will not be entitled to receive or recover any amount in
excess of the amount provided in the Distribution Reserve Account to pay such Claim unless
permitted by a Final Order. As stated above, nothing in the Plan will be deemed to entitle the
holder of a Disputed Claim to post-petition interest on such Claim, if Allowed, unless otherwise
required under the Plan.

       Distributions After Allowance of Disputed Claim. Distributions to each holder of a
Disputed Claim or to its designee, to the extent it becomes an Allowed Claim, will be made in
accordance with the provisions of the Plan that govern Distributions to such holders of Claims in
the applicable Class. Unless otherwise provided in the Plan, as promptly as practicable after the
date on which a Disputed Claim becomes an Allowed Claim, and in any event not later than ten
(10) Business Days after the Disputed Claim becomes an Allowed Claim, HCN, the Unsecured
Claimants Trustee or the Tort Claimants Trustee, as applicable, shall distribute to the holder
thereof from the applicable Distribution Reserve Account, if any, any Distribution that would
have been made to such holder had its Claim been an Allowed Claim on the date that
Distributions were previously made to holders of Allowed Claims in the applicable Class,
without interest (except as otherwise provided by the Plan) and net of any setoff and/or any
required withholding of applicable taxes. After all Disputed Claims have been resolved by a
Final Order or other final resolution, any remaining Cash in a relevant Distribution Reserve
Account shall be distributed in accordance with the other provisions of the Plan.

       Allowance of Claims Subject to Bankruptcy Code Section 502(d). Allowance of
Claims will in all respects be subject to the provisions of Bankruptcy Code section 502(d),
except as provided by a Final Order or a settlement among the relevant parties.

       10.07. Distributions Under the Plan

        Means of Cash Payment. Except as otherwise provided in the Plan, Cash payments
made pursuant to the Plan shall be in U.S. dollars and may be made, at the option of and in the
sole discretion of HCN, the Unsecured Claimants Trustee or the Tort Claimants Trustee, as
applicable, by checks drawn on or wire transfers from a domestic bank; provided, that in the case
of foreign holders of Allowed Claims, Cash payments may be made, at the option of and in the
sole discretion of HCN, the Unsecured Claimants Trustee or the Tort Claimants Trustee, as
applicable, in such currency and by such means as are necessary or customary in a particular
jurisdiction.

       Delivery of Distributions. All Distributions to any holder of an Allowed Claim (or to its
designee as provided herein) shall be made at the address of each such holder as set forth on the
proof of Claim filed by such holder or its designee (or at the last address of such a holder or its
designee known to HCN, the Unsecured Claimants Trustee or the Tort Claimants Trustee, as

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applicable, if no proof of Claim is filed or if HCN, the Unsecured Claimants Trustee or the Tort
Claimants Trustee, as applicable, has been notified in writing of a change of address). If any
holder’s Distribution is returned as undeliverable, no further Distributions to such party (or its
designee) shall be made unless and until HCN, the Unsecured Claimants Trustee or the Tort
Claimants Trustee, as applicable, is notified in writing of such party’s then current address, at
which time all missed Distributions shall be made to such holder (or its designee) without
interest. Any holder of an Allowed Claim whose Distribution is undeliverable must make
demand for such Distribution to HCN, the Unsecured Claimants Trustee or the Tort Claimants
Trustee, as applicable, in writing on or before 120 days after the date such undeliverable
Distribution was initially made, after which the Distribution shall be retained by HCN, the
Unsecured Claimants Trustee or the Tort Claimants Trustee, as applicable, for Distribution to
other holders of Claims pursuant to the terms of the Plan, and any claim by such intended
recipient with respect to such undeliverable Distribution shall be discharged and forever barred.
HCN, the Unsecured Claimants Trustee and/or the Tort Claimants Trustee may employ or
contract with other Persons to assist in or make the Distributions required under the Plan. The
Debtors, HCN and the Claimants Trusts and their agents and professionals are under no
duty to take any action to either attempt to locate any holder of a Claim, or obtain an
executed Internal Revenue Service Form W-9 from any holder of a Claim.

       Fractional Dollars; De Minimis Distributions. Notwithstanding any other provision of
the Plan, payments of fractions of dollars will not be made. Whenever any payment of a fraction
of a dollar under the Plan would otherwise be called for, the actual payment made will reflect a
rounding of the fraction to the nearest whole dollar (up or down), with half dollars being rounded
down. No payment of less than twenty-five dollars ($25.00) shall be made with respect to any
Allowed Claim, and HCN, the Unsecured Claimants Trustee or the Tort Claimants Trustee, as
applicable, shall retain any such payment and shall deposit same into a pool for redistribution to
other holders of Allowed Claims in the same Class.

        Unclaimed Property. Any Distributions that become Unclaimed Property shall be
retained by HCN, the Unsecured Claimants Trustee or the Tort Claimants Trustee, as applicable,
free and clear of any claims or restrictions thereon, and any entitlement of any holder of any
Claim to such Distributions shall be extinguished and forever barred. HCN, the Unsecured
Claimants Trustee or the Tort Claimants Trustee, as applicable, shall distribute Unclaimed
Property to other holders of Claims pursuant to the terms of the Plan, the Unsecured Claimants
Trust Agreement, the Tort Claimants Trust Agreement and the CRP, as applicable.

       10.08. Duty to Disgorge Overpayments

       To the extent the holder of any Allowed Claim receives more than what such holder is
permitted to receive under the Plan, such holder shall immediately return such excess payment(s)
to HCN, the Unsecured Claimants Trustee or the Tort Claimants Trustee, as applicable, failing
which, HCN, the Unsecured Claimants Trustee or the Tort Claimants Trustee, as applicable, may
sue such holder for the return of the overpayment in the Bankruptcy Court or any other court of
competent jurisdiction.




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       10.09. Allocation of Plan Distributions Between Principal and Interest

        To the extent that any Allowed Claim entitled to a Distribution under the Plan is
comprised of indebtedness and accrued but unpaid interest thereon, such Distribution shall be
allocated first to the principal amount of the Claim (as determined for federal income tax
purposes) and then, to the extent the consideration exceeds the principal amount of the Claim, to
accrued but unpaid interest.

       10.10. No Recourse

        Notwithstanding that the Allowed amount of any particular Disputed Claim is
reconsidered under the applicable provisions of the Bankruptcy Code and Bankruptcy Rules or is
Allowed in an amount for which after application of the payment priorities established by this
Plan there is insufficient value to provide a recovery equal to that received by other holders of
Allowed Claims in the respective Class, no Claim holder shall have recourse against the
Claimants Trust, the Tort Claimants Trustee or Unsecured Claimants Trustee, the Debtors, the
Reorganized Debtors, the Creditors’ Committee or any of their respective professionals,
consultants, officers, directors, employees or their successors or assigns, or any of their
respective property. However, nothing in the Plan shall modify any right of a holder of a Claim
under section 502(j) of the Bankruptcy Code, nor shall it modify or limit the ability of claimants
(if any) to seek disgorgement to remedy any unequal distribution from parties other than those
released under this section. THE ESTIMATION OF CLAIMS AND THE ESTABLISHMENT
OF RESERVES UNDER THE PLAN MAY LIMIT THE DISTRIBUTION TO BE MADE ON
INDIVIDUAL DISPUTED CLAIMS, REGARDLESS OF THE AMOUNT FINALLY
ALLOWED ON ACCOUNT OF SUCH DISPUTED CLAIMS.

                                  ARTICLE XI
                      ACCEPTANCE OR REJECTION OF THE PLAN

       11.01. Impaired Classes Entitled to Vote

       Each impaired Class entitled to vote to accept or reject the Plan will vote separately. A
holder of a Claim as to which an objection has been filed and that has not been temporarily
allowed for purposes of voting on the Plan may not vote. A holder of a contingent or
unliquidated Claim may vote on the Plan in an amount based on the portion, if any, of the Claim
shown as non-contingent, liquidated and undisputed in the Schedules, or equal to $1.00 if not so
shown.

       11.02. Acceptance by an Impaired Class

         A Class of Claims that is entitled to vote to accept or reject the Plan shall have accepted
the Plan if it is accepted by at least two-thirds (2/3) in amount and more than one-half (1/2) in
number of the Allowed Claims in such Class that have voted on the Plan. A Class of Interests
that is entitled to vote to accept or reject the Plan shall have accepted the Plan if it is accepted by
the holders of at least two-thirds (2/3) in amount of the Allowed Interests in such Class that have
voted on the Plan. Any Ballot that is not properly completed and timely received by the
Balloting Deadline will not be counted.


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       11.03. Section 1129(b) Cramdown

        If any impaired Class of Claims or Interests fails to accept the Plan in accordance with
Bankruptcy Code section 1129(a), the Proponents will seek confirmation of the Plan by the
Bankruptcy Court pursuant to the “cramdown” provisions in Bankruptcy Code section 1129(b).
The Proponents assert that the Plan provides for fair and equitable treatment of all Classes of
Claims and Interests. The Proponents reserve the right to amend the Plan as may be necessary to
obtain confirmation of the Plan under Bankruptcy Code section 1129(b).

                                    ARTICLE XII
                             RETENTION OF JURISDICTION

       12.01. Jurisdiction

        Until the Bankruptcy Cases are closed, the Bankruptcy Court will retain the fullest and
most extensive jurisdiction as is legally permissible under applicable law, including under
Bankruptcy Code sections 105(a) and 1142, including that which is necessary to ensure that the
purpose and intent of the Plan are carried out and to hear and determine all objections thereto
that could have been brought before the entry of the Confirmation Order. The Bankruptcy Court
will retain jurisdiction to hear and determine all Claims against and Interests in the Debtors and
to enforce all Causes of Action and any related counterclaims, cross-claims, and/or third-party
claims over which the Bankruptcy Court otherwise has jurisdiction. Nothing contained in the
Plan will prevent the Debtors or the Claimants Trusts from taking any action necessary to
enforce any Cause of Action that may exist on behalf of the Debtors or the Claimants Trusts that
may not have been enforced or prosecuted by the Debtors.

       12.02. Examination of Claims

        Following the Confirmation Date, the Bankruptcy Court will retain jurisdiction to decide
disputes concerning the classification and allowance of any Claim and the reexamination of
Claims that have been allowed for the purposes of voting, and the determination of any
objections as may be filed to Claims. The failure by the Debtor to object to, or to examine, any
Claim for the purposes of voting will not be deemed a waiver of the right of the Debtor or the
Claimants Trust to object to, or to re-examine, the Claim in whole or in part.

       12.03. Determination of Disputes

        The Bankruptcy Court will retain jurisdiction after the Confirmation Date to determine
(a) all questions and disputes regarding title to the Assets and the Trust Assets, (b) disputes
concerning the allowance of Claims, (c) all Causes of Action, controversies, disputes, or
conflicts, whether or not subject to any pending action, as of the Confirmation Date, to recover
property pursuant to the provisions of the Bankruptcy Code, and (d) all disputes and
controversies regarding the operation, implementation, and interpretation of the Plan, the
Confirmation Order, and any agreements that are identified or implement the Plan or the
Confirmation Order.




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       12.04. Additional Purposes

        Under Bankruptcy Code sections 105(a) and 1142, and notwithstanding entry of the
Confirmation Order, occurrence of the Effective Date and/or substantial consummation of the
Plan, the Bankruptcy Court will retain exclusive jurisdiction over all matters arising out of or
related to the Bankruptcy Cases and the Plan to the fullest extent permitted by applicable law,
including but not limited to jurisdiction to:

               (a)     hear and determine any modification of the Plan or the Plan Supplement
pursuant to Bankruptcy Code section 1127, to cure any defect or omission or reconcile any
inconsistency in the Plan, the Plan Supplement, or any order of the Bankruptcy Court, including
the Confirmation Order, in such a manner as may be necessary or appropriate to carry out the
purposes and effects thereof;

               (b)    hear and determine disputes, issue injunctions, enter and implement other
orders and take such other actions as may be necessary or appropriate to execute, interpret,
implement, consummate, or enforce the terms and conditions of the Plan and the Plan
Supplement and the transactions contemplated thereunder, the Confirmation Order, the
Disclosure Statement, or any other order of the Bankruptcy Court, or to maintain the integrity of
the Plan following confirmation;

               (c)    hear and determine any and all adversary proceedings, motions,
applications, and contested or litigated matters arising out of or related to the Bankruptcy Cases
or the Plan;

              (d)     enforce all orders, judgments, injunctions, releases, exculpations,
indemnifications, and rulings entered or approved in the Bankruptcy Cases;

               (e)     hear and determine all disputes involving the existence, nature, or scope of
the discharge, injunctions, releases, exculpations, and indemnifications granted pursuant to the
Plan or the Confirmation Order;

                (f)   hear and determine disputes arising in connection with the execution,
interpretation, implementation, consummation, or enforcement of the Plan, the Confirmation
Order, any transactions, performance or payments provided for or contemplated in the Plan or
the Confirmation Order, or any agreement, instrument or other document governing or relating to
any of the foregoing;

               (g)     construe and apply any findings of fact and/or conclusions of law made in
or in connection with the Confirmation Order;

                 (h)   adjudicate matters arising in the Bankruptcy Cases, including matters
relating to the formulation and consummation of the Plan;

               (i)     enter any orders, including injunctions, as are necessary to enforce title,
rights, and powers of the Debtors and the Claimants Trust to impose any limitations, restrictions,
terms and conditions on such title, rights, and powers as the Bankruptcy Court may deem
necessary;

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               (j)   hear and determine all questions and disputes regarding title to or recovery
of the Assets and property of the Debtors, and the Trust Assets and property of the Claimants
Trusts;

               (k)     hear and determine any objection to any Claim (including, without
limitation, any Personal Injury Claim or Administrative Claim) or any Interest, including the
allowance, classification, priority, secured status, compromise, estimation, subordination, or
payment thereof;

                (l)    allow, disallow, determine, liquidate, classify, estimate or establish the
priority, secured, unsecured, or subordinated status of any Claim (including, without limitation,
any Personal Injury Claim and any Administrative Claim) or any Interest and to re-examine
Claims or Interests that have been allowed for purposes of voting;

              (m)     enter a Final Decree closing any or all of the Bankruptcy Cases;

               (n)     correct any defect, cure any omission, or reconcile any inconsistency in
the Plan, the Plan Supplement, or the Confirmation Order as may be necessary to carry out the
purposes and intent of the Plan, the Plan Supplement, and the Confirmation Order including the
adjustment of the date(s) of performance under the Plan, the Plan Supplement, and any other
documents related thereto if the Effective Date does not occur as provided herein, so that the
intended effect of the Plan, the Plan Supplement, and such other documents may be substantially
realized thereby;

             (o)     enter, implement or enforce such orders as may be appropriate if the
Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

               (p)    hear and determine all applications for compensation and reimbursement
of expenses of Professionals or any other Person under the Plan or under Bankruptcy Code
sections 330, 331, 503(b), 1103 and 1129(a)(4) of the Bankruptcy Code; provided, however, that
from and after the Effective Date, the payment of fees and expenses of professionals retained by
the Claimants Trust shall be made in the ordinary course of business and shall not be subject to
approval of the Bankruptcy Court unless otherwise specified in the Plan;

              (q)      hear and determine issues concerning federal tax reporting and
withholding that arise in connection with the confirmation or consummation of the Plan;

              (r)   hear and determine issues concerning state, local and federal taxes in
accordance with Bankruptcy Code sections 346, 505 and 1146;

             (s)      hear and determine all matters regarding the assumption or rejection of
Executory Contracts, including any disputes concerning Rejection Claims or Cure Amounts;

               (t)     hear and determine any Cause of Action and any collection or settlement
matters related thereto;

                (u)     hear and determine any disputes or litigation regarding the validity,
priority, or extent of any Lien and any Claim associated therewith; and

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               (v)   hear and determine any other matter related hereto and not inconsistent
with the Plan, the Confirmation Order, the Bankruptcy Code, or Title 28 of the United States
Code.

       12.05. Failure of the Bankruptcy Court to Exercise Jurisdiction

        If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or
is otherwise without jurisdiction over any matter arising in, arising under, or related to the
Bankruptcy Cases, including the matters set forth in Article XII of this Plan, the provisions of
this Article XII shall have no effect upon and shall not control, prohibit, or limit the exercise of
jurisdiction by any other court having jurisdiction with respect to such matter.

                                    ARTICLE XIII
                              MISCELLANEOUS PROVISIONS

       13.01. General Notices

       Any notice, request, or demand required or permitted to be given in connection with the
Plan shall be (a) in writing, (b) served to the parties and addresses set forth below by certified
mail, return receipt requested, hand delivery, overnight delivery, or first class mail, and (c)
deemed to have been given or made when actually delivered or received:

       -to the Debtors:

       ____________________

       –with a copy to counsel for the Debtors:

       Patrick J. Neligan, Jr.
       James P. Muenker
       Neligan Foley LLP
       325 N. St. Paul, Suite 3600
       Dallas, TX 75201

       -to the Committee:

       ____________________

       –with a copy to counsel for the Committee:

       PEPPER HAMILTON LLP
       Francis J. Lawall
       Donald J. Detweiler
       3000 Two Logan Square
       Eighteenth and Arch Streets
       Philadelphia, PA 19103-2799

       -to the Unsecured Claimants Trust:

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        -to the Tort Claimants Trust:

       ________________

       13.02. Plan Supplement

        No later than ten (10) Business Days before the Confirmation Hearing, or no later than
any other deadline specified in the Plan with respect to a specific agreement or document, the
Debtors shall file with the Bankruptcy Court the Plan Supplement and such exhibits, schedules,
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan. Upon the filing of the Plan Supplement, (a) the
Debtors will serve copies of the Plan Supplement on the Office of the United States Trustee and
(b) the Plan Supplement may be inspected in the office of the Clerk of the Bankruptcy Court
during normal court hours. Holders of Claims or Interests may obtain a copy of the Plan
Supplement upon written request to the Debtors’ counsel. The Plan Supplement is incorporated
into, and is a part of, the Plan as if set forth in full herein, and all references to the Plan shall
refer to the Plan together with all documents contained in the Plan Supplement.

       13.03. Exemption From Transfer Taxes

         Pursuant to Bankruptcy Code section 1146(a), the issuance, transfer, or exchange of
securities or other property under the Plan; the creation, transfer, filing, or recording of any
mortgage, deed of trust, financing statement, or other security interest; or the making, delivery,
filing, or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with the Plan, shall not be subject to any stamp tax, real estate tax, conveyance,
filing, or transfer fees, mortgage, recording, or other similar tax or other government assessment.
The Confirmation Order shall direct all appropriate governmental officials or agents to forgo the
collection of any such tax or assessment and to accept such documents delivered under the Plan
without the imposition or payment of any charge, fee, governmental assessment, or tax.

       13.04. Asserting and Curing Default Under the Plan

        Except as otherwise provided in the Plan, if a Debtor, the Unsecured Claimants Trustee
or the Tort Claimants Trustee defaults under the provisions of the Plan, any Creditor or party in
interest desiring to assert a default will provide the relevant Debtor, the Unsecured Claimants
Trustee or the Tort Claimants Trustee, as applicable, and its counsel with written notice of the
alleged default. The Debtor, the Unsecured Claimants Trustee or the Tort Claimants Trustee, as
applicable, will have thirty (30) days from receipt of written notice to cure the alleged default. If
the default is not cured, any Creditor or party in interest may then file with the Bankruptcy
Court, and serve on the relevant Debtor, the Unsecured Claimants Trustee or the Tort Claimants
Trustee and its counsel, a motion to compel compliance with the applicable provision of the
Plan. The Bankruptcy Court, on finding a material default, will issue orders compelling
compliance with the pertinent provisions of the Plan.




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       13.05. Revocation or Withdrawal of the Plan

        The Debtors reserve the right to revoke and/or withdraw the Plan at any time before the
Confirmation Date. If the Debtors revoke or withdraw this Plan, or if confirmation or the
Effective Date of the Plan does not occur, then the Plan shall be deemed null and void. In such
event, nothing contained herein shall be deemed to constitute a waiver or release of any Claims
by or against the Debtors or any other Person or to prejudice in any manner the rights of the
Debtors or any other Person in any further proceedings involving the Debtors or any other
Person.

       13.06. Modification of the Plan

       The Proponents reserve the right to modify the Plan in writing at any time before the
Confirmation Date, provided that (a) the Plan, as modified, meets the requirements of
Bankruptcy Code sections 1122 and 1123 and (b) the Proponents shall have complied with
Bankruptcy Code section 1125. The Proponents further reserve the right to modify the Plan in
writing at any time after the Confirmation Date and before substantial consummation of the Plan,
provided that (a) the Plan, as modified, meets the requirements of Bankruptcy Code sections
1122 and 1123, (b) the Proponents shall have complied with Bankruptcy Code section 1125, and
(c) the Bankruptcy Court, after notice and a hearing, confirms the Plan as modified, under
Bankruptcy Code section 1129. A holder of a Claim or Interest that has accepted or rejected the
Plan shall be deemed to have accepted or rejected, as the case may be, such Plan as modified,
unless, within the time fixed by the Bankruptcy Court, such holder changes its previous
acceptance or rejection.

       13.07. Computation of Time

        In computing any period of time prescribed or allowed by the Plan, unless otherwise set
 forth herein, the provisions of Bankruptcy Rule 9006(a) shall apply.

       13.08. Due Authorization

        Each and every holder of an Allowed Claim that receives a Distribution under the Plan
warrants that it is authorized to accept, in consideration of such Claim, the Distributions provided
for in the Plan and that there are no outstanding commitments, agreements, or understandings,
express or implied, that may or can in any way defeat or modify the rights conveyed or
obligations undertaken by it under the Plan.

       13.09. Implementation

        The Debtors and the Claimants Trusts may execute such documents, take such other
actions, and perform all acts necessary or appropriate to implement the terms and conditions of
the Plan without the need for further Bankruptcy Court approval.

       13.10. Execution of Documents

        Upon application by the Debtors, the Unsecured Claimants Trust or the Tort Claimants
Trust, the Bankruptcy Court may issue an order directing any necessary party to execute or

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deliver, or to join in the execution or delivery of, any instrument or document, and to perform
any act, necessary for the consummation or implementation of the Plan.

       13.11. Bankruptcy Restrictions

         From and after the Effective Date, the Debtors shall no longer be subject to the
restrictions and controls provided by the Bankruptcy Code (e.g., sections 363 or 364) except as
the Bankruptcy Code may specifically provide otherwise. No monthly operating reports will be
filed after the Effective Date; however, the Debtors or the Claimants Trusts shall provide the
U.S. Trustee such financial reports as may be required by law.

       13.12. Ratification

      The Confirmation Order will ratify all transactions effected by the Debtors during the
pendency of the Bankruptcy Cases.

       13.13. Integration Clause

       This Plan is a complete and integrated statement of the binding agreement among the
Debtors, the holders of Claims and Interests, and other parties in interest upon the matters herein.
Parol evidence shall not be admissible in an action regarding the Plan or its provisions.

       13.14. Interpretation

        Unless otherwise specified, all Section, Article and exhibit references in the Plan are to
the respective Section in, Article of or exhibit to the Plan, as the same may be amended, waived,
or modified from time to time. The headings of the Articles, paragraphs, and Sections of the
Plan and table of contents in the Plan are inserted for convenience of reference only and shall not
limit or otherwise affect the provisions of the Plan or its interpretation. Nothing herein shall be
deemed as a judicial admission by the Debtors. Likewise, any defined terms in the Plan not
defined shall have the same meaning as that term has under the Bankruptcy Code.

       13.15. Severability of Plan Provisions

        If any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void,
or unenforceable before the Confirmation Date, the Bankruptcy Court, upon the request of the
Debtors or the Claimants Trusts, will have the power to alter or interpret the Plan to make such
term or provision valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void, or unenforceable, and the term
or provision will then be applicable as altered or interpreted. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of the Plan will remain in
full force and effect and will in no way be affected, impaired, or invalidated by the holding,
alteration, or interpretation, provided that the Debtors or the Claimants Trusts consent. The
Confirmation Order will constitute a judicial determination and will provide that each term and
provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is valid and enforceable pursuant to its terms.



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        13.16. Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules), (a) the laws of the State of Delaware shall govern the
construction and implementation of the Plan and any agreements, documents, and instruments
executed in connection with the Plan unless otherwise specified therein, and (b) the laws of the
state of incorporation, formation, or organization of a Debtor shall govern corporate or other
governance matters with respect to such Debtor, in either case without giving effect to the
principles of conflicts of law thereto.

                                        DEBTOR[S]

                                        By: /s/ Raymond Mulry
                                            Raymond Mulry
                                            Its Authorized Representative




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